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12                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

13                                FOR THE COUNTY OF SANTA CLARA

14

15

16
       THE PEOPLE OF THE STATE OF                           Case No.
17     CALIFORNIA,
                                                         COMPLAINT FOR INJUNCTIVE AND
18                                            Plaintiff, OTHER RELIEF

19                    v.                                    (BUS. & PROF. CODE, §§ 17200 et seq.,
                                                            17500 et seq.)
20
       TIKTOK INC.;                                             Public – Redacted materials from
21     TIKTOK U.S. DATA SECURITY INC.;                            conditionally sealed record
       TIKTOK LLC;
22     TIKTOK PTE. LTD;
       TIKTOK LTD;                                           [VERIFIED ANSWER REQUIRED
23     BYTEDANCE INC.;                                       PURSUANT TO CALIFORNIA CODE OF
       BYTEDANCE LTD: and                                    CIVIL PROCEDURE SECTION 446]
24     DOES 1 through 100, inclusive,

25                                        Defendants.

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                                                      Complaint for Injunctive and Other Relief [Public-Redacted]
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 1           Plaintiff, the People of the State of California (“Plaintiff” or the “People”), by and through

 2     Rob Bonta, Attorney General of the State of California, alleges the following on information and

 3     belief:

 4       TIKTOK EXPLOITS AND HARMS YOUNG USERS AND DECEIVES THE PUBLIC
                  ABOUT ITS PLATFORM AND PLATFORM’S DANGERS
 5

 6           1.       For the past several years, TikTok, Inc., along with its parent and affiliate entities

 7     named as Defendants in this action (collectively, “Defendants” or “TikTok”), has designed and

 8     operated a social media platform intended to be addictive, and which is severely harmful to the

 9     physical and psychological well-being of young users. TikTok preys on young people’s unique

10     psychological vulnerabilities through an arsenal of harmful, addictive-by-design features that it

11     targets to exploit and manipulate young users’ developing brains. TikTok profits by doing so,

12     because TikTok’s business model is based on maximizing users’ engagement with its platform,

13     including the amount of time users spend on the platform. Maximizing user engagement enables

14     TikTok to better target advertising space on its platform and maximize revenue through sales of

15     advertising space.

16           2.       TikTok knows that the harmful effects of its platform wreak havoc on the mental

17     health of children and teenagers throughout California and the United States. Its executives admit:

18                                                                and

19

20

21

22           3.       Despite knowing that it implemented what it referred to internally as “

23                  ” and knowing the risk of serious harm to youth, including sleep deprivation,

24     depression, anxiety, self-harm, suicide, and death, TikTok engages in a coordinated scheme to

25     deceptively market the TikTok platform as safe, well-moderated, and appropriate for young users.

26     The collective public narrative TikTok creates through a variety of acts, practices and

27     representations misleads the public as to how the platform actually operates and its negative

28     impact on young users’ wellbeing.
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 1           4.        Outside the United States, TikTok’s parent company, Defendant ByteDance Ltd.,
 2     actively strives to protect some children from such harms by, for example, providing a different
 3     version of TikTok that reduces harm to minors (users under 18 years old, also known as “young
 4     users”). TikTok has every ability to take similar measures to protect young users here.
 5           5.        But TikTok chooses not to, and in California and throughout the United States, it
 6     specifically targets children (under 13 years old) and teenagers (aged 13 to 17) with a platform
 7     designed to keep these young users engaged as long as possible. TikTok’s executives and

 8     employees admit that they target young Americans, stating:

 9                a. “It’s better to have young people as an early adopter, especially the teenagers in the

10                   U.S. Why? They [sic] got a lot of time.” 1

11                b. “Teenagers in the U.S. are a golden audience . . . . If you look at China, the teenage

12                   culture doesn’t exist — the teens are super busy in school studying for tests, so they

13                   don’t have the time and luxury to play social media apps.” 2

14           6.        Along with targeting youth and investing substantial resources to keep young users

15     on the TikTok platform in order to maximize advertising revenue, TikTok has disregarded

16     children’s privacy online and even failed to comply with federal statutory and regulatory

17     requirements protecting children’s privacy. TikTok has actual knowledge that it collects data

18     about children under age 13, and TikTok knows its platform is directed to children. Yet, TikTok

19     does not obtain the required verifiable parental consent before collecting, using, or disclosing the

20     personal information of its child users, nor does TikTok provide the required notice to parents

21     before collecting children’s data.

22

23

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25            1
                 See Andrew Brown, Musical.ly’s Alex Zhu on Igniting Viral Growth and Building a
       User Community 2016 at 5:01, YOUTUBE (Feb. 17, 2022), https://www.youtube.com/watch?v=
26     b7y971yL5dE [web.archive.org/web/20240918213447/https%3A%2F%2Fwww.youtube.com%
       2Fwatch%3Fv%3Db7y971yL5dE].
27             2
                 Paul Mozur, Chinese Tech Firms Forced to Choose Market: Home or Everywhere Else,
       N.Y. TIMES (Aug. 9, 2016), https://www.nytimes.com/2016/08/10/technology/china-homegrown-
28     internet-companies-rest-of-the-world.html.
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 1           7.       TikTok’s business acts and practices violate California’s Unfair Competition Law
 2     (Business and Professions Code section 17200 et seq.) and the False Advertising Law (Business
 3     and Professions Code section 17500 et seq.).
 4                                                PLAINTIFF

 5           8.       Plaintiff is the People of the State of California, who brings this action by and
 6     through Attorney General Rob Bonta. The Attorney General is authorized by Business and
 7     Professions Code sections 17203, 17204, and 17206 to bring actions to enforce the Unfair
 8     Competition Law (UCL) and by Business and Professions Code sections 17535 and 17536 to
 9     bring actions to enforce the False Advertising Law (FAL).
10                                              DEFENDANTS
11           9.       Defendant TikTok Inc. is a California corporation with its principal place of
12     business at 5800 Bristol Parkway, Culver City, California 90230.
13           10.      Defendant TikTok U.S. Data Security Inc. (USDS) is a Delaware corporation with
14     its principal place of business at 5800 Bristol Parkway, Suite 100, Culver City, California 90230.

15     Defendant TikTok Inc. wholly owns USDS. TikTok created USDS in May 2022 to “strengthen

16     [TikTok’s] data protection policies and protocols, further protect [TikTok’s] users, and build

17     confidence in [TikTok’s] systems and controls in the United States.” 3

18           11.      Defendant TikTok LLC is a Delaware limited liability company with its principal

19     place of business at 5800 Bristol Parkway, Culver City, California 90230. Defendant TikTok

20     LLC wholly owns Defendant TikTok Inc.

21           12.      Defendant TikTok Pte. Ltd. is a company incorporated in Singapore with its

22     principal place of business in Singapore at 8 Marina View Level 43 Asia Square Tower 1,

23     Singapore 018960.

24

25

26

27            3
                 Albert Calamug, Our Approach to Keeping U.S. Data Secure, TIKTOK (June 17, 2022),
       https://usds.tiktok.com/our-approach-to-keeping-u-s-data-secure [https://web.archive.org/
28     web/20240909202216/https://usds.tiktok.com/our-approach-to-keeping-u-s-data-secure].
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 1           13.      Defendant TikTok, Ltd. is a company incorporated in the Cayman Islands with its
 2     principal place of business in Singapore or Beijing, China. Defendant TikTok, Ltd. wholly owns
 3     Defendant TikTok LLC and Defendant TikTok Pte. Ltd.
 4           14.      Defendant ByteDance Inc. is a Delaware corporation with its principal place of
 5     business at 1199 Coleman Avenue, San Jose, California 95110.
 6           15.      Defendant ByteDance Ltd. is the ultimate parent company of all other Defendants.
 7     It is a company incorporated in the Cayman Islands with its principal place of business in Beijing,

 8     China.

 9           16.      The defendants identified in Paragraphs 9 through 15 above are referred to

10     collectively in this Complaint as “Defendants” or “TikTok.”

11           17.      Defendants DOES 1 through 100, inclusive, are sued herein under fictitious

12     names. Their true names and capacities, whether individual, corporate, associate or otherwise, are

13     unknown to the Plaintiff. When their true names and capacities are ascertained, Plaintiff will

14     amend this complaint by inserting their true names and capacities herein. Plaintiff is informed and

15     believes and thereon alleges that each of the fictitiously named defendants is responsible in some

16     manner or liable for the unlawful acts or omissions herein alleged.

17     I.    DEFENDANTS JOINTLY OPERATE TIKTOK AS A COMMON ENTERPRISE.
18           18.      Defendants are all intimately involved in operating the TikTok platform. For

19     example, ByteDance Ltd. and TikTok Ltd. are intimately involved in making decisions about the

20     TikTok platform, even though TikTok is unavailable in China. ByteDance Ltd. and TikTok Ltd.

21     even retain authority to approve or deny implementation of TikTok’s “safety features.”

22           19.      A group of ByteDance Ltd. and TikTok Inc. executives, including Zhang Yiming,

23     Liang Rubo, Zhao Penyuan, and Zhu Wenjia, direct and control TikTok’s core features and

24     development.

25           20.      Moreover, Defendants operate on a “shared services” model, in which ByteDance

26     Ltd. provides legal, safety, and privacy resources, including personnel.

27           21.      As part of Defendants’ shared services model, ByteDance Ltd. controls legal

28     compliance and oversight at TikTok Inc. ByteDance Ltd.’s Global General Counsel, who reports
                                                        7
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 1     to ByteDance Ltd.’s CEO, also oversees TikTok Inc.’s legal issues. 4 For example, ByteDance’s
 2     Director of Legal Affairs was
 3

 4

 5

 6             22.      Similarly, ByteDance Ltd. controls TikTok Inc.’s e-commerce operations, and
 7     leadership of TikTok Inc.’s e-commerce operations reports directly to ByteDance Ltd.’s

 8     executives rather than TikTok Inc.’s own CEO. 5 Further, TikTok Inc.’s head of human resources

 9     reports to ByteDance Ltd.’s head of human resources.

10             23.      Additionally, upon information and belief, Defendants have one centralized bank

11     account for ByteDance Ltd.’s more than a dozen products, including TikTok.

12             24.      ByteDance Ltd. also created the TikTok algorithm and maintains ownership over

13     it. 6

14             25.      ByteDance Ltd. and TikTok Ltd. employees also routinely sign contracts on behalf

15     of TikTok Inc.

16             26.      Further, TikTok Ltd. is listed as the TikTok platform’s developer, and TikTok Pte.

17     Ltd. as the TikTok platform’s seller, on the Apple App Store. 7 Similarly, the TikTok platform’s

18

19

20              4
                  ByteDance Appoints John Rogovin as Global General Counsel, TIKTOK (June 3, 2024),
       https://newsroom.tiktok.com/en-us/bytedance-appoints-john-rogovin-as-global-general-counsel
21     [https://web.archive.org/web/20240920214718/https://newsroom.tiktok.com/en-us/bytedance-
       appoints-john-rogovin-as-global-general-counsel].
22              5
                  See Juro Osawa, TikTok’s E-Commerce Management Structure Undercuts Claims of
       Autonomy From China, THE INFORMATION (Jan. 17, 2023), https://www.theinformation.com/
23     articles/tiktoks-e-commerce-management-structure-undercuts-claims-of-autonomy-from-china
       (“Sandie Hawkins, a U.S.-based TikTok executive who became the app’s head of U.S. e-
24     commerce in November [2022], reports to Bob Kang, ByteDance’s e-commerce chief, who in
       turn reports to Zhang Lidong, ByteDance’s China chair based on Beijing . . . . But neither
25     Hawkins nor Kang reports to TikTok’s CEO . . .”)
                6
                  Emily Baker-White, As TikTok Ban Looms, ByteDance Battles Oracle for Control of Its
26     Algorithm, FORBES (Aug. 24, 2023), https://www.forbes.com/sites/emilybaker-white/
       2023/08/24/tiktok-ban-oracle-bytedance-algorithm-fight.
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                  TikTok, APPLE APP STORE, https://apps.apple.com/us/app/tiktok/id835599320
       [https://web.archive.org/web/20240920222508/https://apps.apple.com/us/app/tiktok/
28     id835599320].
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 1     listing on Google Play provides TikTok Pte. Ltd. as the entity responsible for the app. 8 The
 2     tiktok.com domain is also registered to TikTok Ltd.
 3           27.      Employee roles among Defendants are often blurred: TikTok Inc. represents that it
 4     has not created or maintained an organizational chart because its employees do not have formal
 5     titles and the responsibilities between organizations are fluid. 9 Some former employees have
 6     even stated they were unsure which Defendant they actually worked for.
 7           28.      Prominent leaders of TikTok Inc. even state on their public LinkedIn profiles that

 8     they are employed by “ByteDance/TikTok.” 10

 9           29.      Indeed, in April 2021, when Shou Chew was named CEO of TikTok Inc., he was

10     serving as CFO of ByteDance Ltd. 11 As CEO of TikTok Inc., Chew reports to the CEO of

11     ByteDance Ltd and is also paid by ByteDance Ltd. 12

12           30.      Because Defendants’ corporate boundaries are porous, employees at all the

13     companies work together. For example, all Defendants’ employees use a shared internal

14     messaging system, Lark, where they can engage in chats and group chats with each other

15     regardless of their formal company affiliation. 13 Defendants’ employees use Lark to discuss

16     specific features on the TikTok platform.

17
              8
                  TikTok, GOOGLE PLAY STORE, https://play.google.com/store/apps/details?id=com.
18     zhiliaoapp.musically&hl=en_US&gl=US [https://web.archive.org/web/20240920223421/
       https://play.google.com/store/apps/details?id=com.zhiliaoapp.musically&hl=en_US&gl=US].
19              9
                  See Roger Chen & Rui Ma, How ByteDance Became the World’s Most Valuable Startup,
       HARV. BUS. REV. (Feb. 24, 2022), https://hbr.org/2022/02/how-bytedance-became-the-worlds-
20     most-valuable-startup.
                10
                   Rachel Lee et al., TikTok, ByteDance, and Their Ties to the Chinese Communist Party,
21     Submission to Australian Senate Select Committee on Foreign Interference through Social Media,
       42 (March 14, 2023), https://www.aph.gov.au/DocumentStore.ashx?id=a7e2a076-1112-4414-
22     ba0f-f129e0cd39fe&subId=735418.
                11
                   TikTok Names CEO and COO, TIKTOK (Apr. 30, 2021),
23     https://newsroom.tiktok.com/en-us/tiktok-names-ceo-and-coo
       [https://web.archive.org/web/20240927215624/https://newsroom.
24     tiktok.com/en-us/tiktok-names-ceo-and-coo]; Ryan Mac & Chang Che, TikTok’s C.E.O.
       Navigates the Limits of His Power, N.Y. TIMES (Sept. 16, 2022),
25     https://www.nytimes.com/2022/09/16/technology/tiktok-ceo-shou-zi-chew.html.
                12
                   See TikTok: How Congress Can Safeguard American Data Privacy and Protect
26     Children from Online Harms Before H. Comm. on Energy and Commerce, 118th Cong. 28, 24,
       95-96 (2023) (statement of Shou Chew, Chief Executive Officer, TikTok Inc.) (hereinafter Chew
27     Congressional Statement).
                13
                   Sapna Maheshwari & Ryan Mac, Driver’s Licenses, Addresses, Photos: Inside How
28                                                                                         (continued…)
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 1           31.      TikTok Inc. CEO Chew stated to Congress on March 23, 2023 that employees of
 2     ByteDance Ltd. work on the TikTok platform and that he personally uses Lark to communicate
 3     “with employees at ByteDance [Ltd.].” 14
 4           32.      According to a 2023 report prepared for the Australian Select Committee on
 5     Foreign Interference through Social Media, one ByteDance Ltd. insider has described TikTok Inc.
 6     as “not developed enough to be a self-contained business unit. Therefore . . . TikTok draws on
 7     personnel, experience, and methods of ByteDance’s Douyin app, software, and commercial

 8     model to achieve ‘technology accumulation and business breakthroughs.’” 15

 9           33.      This report also gives examples of cross-hiring among Defendants. For example,

10     in November 2022, TikTok Inc. posted a job for a “data scientist” based in Shanghai. The next

11     week, ByteDance Ltd. posted a job advertisement with the same description. The hiring team for

12     the ByteDance Ltd. position worked for “TikTok.” 16

13           34.      The same report concluded that ByteDance Ltd. management considers the entities

14     interchangeable. 17

15           35.      Each Defendant has actively formulated, participated in, approved, directed, or

16     otherwise controlled the acts or practices referenced throughout this complaint.

17           36.      At all relevant times, each Defendant acted individually and jointly with every

18     other named Defendant in committing all acts alleged in this Complaint.

19           37.      At all relevant times, each Defendant acted: (a) as a principal; (b) under express or

20     implied agency; and/or (c) with actual or ostensible authority to perform the acts alleged in this

21     Complaint on behalf of every other named Defendant.

22           38.      At all relevant times, some or all Defendants acted as the agent of the others, and

23     all Defendants acted within the scope of their agency if acting as an agent of another.

24

25
       TikTok Shares User Data, N.Y. TIMES (May 24, 2023), https://www.nytimes.com/2023/05/24/
26     technology/inside-how-tiktok-shares-user-data-lark.html.
              14
                 Chew Congressional Statement, supra note 12 at 36, 96.
27            15
                 Lee, supra note 10, at 42.
              16
                 Id.
28            17
                 See id.
                                                        10
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 1           39.        At all relevant times, each Defendant knew or realized, or should have known or
 2     realized, that the other Defendants were engaging in or planned to engage in the violations of law
 3     alleged in this Complaint. Knowing or realizing that the other Defendants were engaging in such
 4     unlawful conduct, each Defendant nevertheless facilitated the commission of those unlawful acts.
 5     Each Defendant intended to and did encourage, facilitate, or assist in the commission of the
 6     unlawful acts, and thereby aided and abetted the other Defendants in the unlawful conduct.
 7           40.        Defendants have engaged in a conspiracy, common enterprise, and common

 8     course of conduct, the purpose of which is and was to engage in the violations of law alleged in

 9     this Complaint. The conspiracy, common enterprise, and common course of conduct continue to

10     the present.

11     II.   DEFENDANTS PURPOSEFULLY DIRECT THEIR ACTIVITIES TOWARD CALIFORNIA.

12           41.        TikTok carries out business activities and operations that are relevant to the

13     conduct alleged in this complaint within California. Over the course of the relevant period,

14     TikTok has held out its operations in Los Angeles as both its global headquarters and its

15     headquarters for operations in the United States. With regard to safety, including youth safety,

16     TikTok established a “hub” for its Trust & Safety Team in Mountain View and San Jose, which it

17     calls the “          .” That hub is one of only three globally, and it is the only one in the western

18     hemisphere. TikTok described the hub as “

19                             ” and whose leadership is “                                     .” ByteDance

20     Inc.’s primary place of business is similarly in San Jose, since at least October 24, 2023.

21           42.        TikTok Inc., TikTok LLC, TikTok U.S. Data Security (USDS), and ByteDance

22     Inc. each has their principal place of business in California.

23           43.        As of March 2024, 16 million people and 890,000 businesses in California actively

24     use TikTok. 18

25

26
               18
                 TIKTOK & OXFORD ECONOMICS, TIKTOK: THE VALUE OF THE APP FOR CONSUMERS AND
27     BUSINESS LEADERS IN CALIFORNIA (March 2024), https://a-us.storyblok.com/f/1018266/x/
       2ecc5c0ed3/tiktok_factsheet_ca.pdf [https://web.archive.org/web/20240923184133/https://a-
28     us.storyblok.com/f/1018266/x/2ecc5c0ed3/tiktok_factsheet_ca.pdf].
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 1           44.      Each of the Defendants, while operating as a common enterprise, has jointly
 2     advertised, marketed, developed, and distributed the TikTok application and platform in and from
 3     within California to consumers throughout California since 2017.
 4           45.      TikTok’s services marketed and provided throughout California are not limited to
 5     designing, hosting, and operating a social media platform. They include, but are not limited to,
 6     selling advertising space and tools that allow businesses to tailor messages and ads to specific
 7     local populations, including localities within California; 19 providing tools for businesses to

 8     advertise on the TikTok platform; 20 providing the “TikTok Shop” online marketplace for

 9     businesses to advertise and sell goods in and from California; providing cross-platform

10     advertising with Shopify, another e-commerce platform; 21 selling “Coins” to thousands of

11     Californians that can be gifted to other TikTok users, which can then be exchanged for U.S. fiat

12     currency; and, offering users, including California users, “TikTok Rewards,” a program provides

13     rewards that are redeemable for U.S. currency to existing users who recruit new users to the

14     TikTok platform.

15                                      JURISDICTION AND VENUE

16           46.      This Court has original jurisdiction over this action pursuant to California,

17     Constitution article VI, section 10.

18           47.      This Court has jurisdiction over Defendants because each Defendant markets its

19     services throughout California and intentionally avails itself of the markets of California,

20     including by maintaining TikTok Inc.’s, USDS’s, TikTok LLC’s and ByteDance Inc.’s principal

21     places of business in the state of California, through which Defendants’ common enterprise

22     operates, and by entering into contracts with thousands of Californians and Californian

23

24

25            19
                   See About Location Targeting, Ad Targeting, TIKTOK (May 2024),
       [https://web.archive.org/web/20240604053621/https://ads.tiktok.com/help/article/location-
26     targeting?lang=en].
                20
                   See TikTok for Business, TIKTOK, https://www.tiktok.com/business/en-US [https://
27     web.archive.org/web/20240923190534/https://www.tiktok.com/business/en-US].
                21
                   See About TikTok App on Shopify, TIKTOK (May 2024), [https://web.archive.
28     org/web/20240604053735/https://ads.tiktok.com/help/article/tiktok-app-shopify?lang=en].
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 1     businesses, so as to render the exercise of jurisdiction over Defendants by the California courts
 2     consistent with traditional notions of fair play and substantial justice.
 3           48.      All Defendants together operate as a common enterprise, including while engaging
 4     in the unfair, deceptive, and other unlawful acts and practices alleged below. Because Defendants
 5     have operated as a common enterprise, such that agency and/or alter-ego relationships have
 6     formed, this Court has jurisdiction over each Defendant.
 7           49.      The violations of law alleged in this Complaint occurred in the County of Santa

 8     Clara and elsewhere throughout California.

 9           50.      Venue is proper in this Court pursuant to Code of Civil Procedure section 393,

10     subdivision (a), because violations of law that occurred in the County of Santa Clara are a “part of

11     the cause” upon which the Plaintiff seeks the recovery of penalties imposed by statute.

12           51.      Venue is also proper in this Court pursuant to Code of Civil Procedure section

13     395.5 because a substantial part of the events or omissions giving rise to the claims alleged

14     occurred in this County, a large number of young users harmed by TikTok’s acts or omissions

15     reside in Santa Clara County, and therefore Defendants’ liability arises in the County of Santa

16     Clara.

17                                             RELEVANT TIMES

18              52.   TikTok’s violations of the UCL and FAL are ongoing. The illegal conduct began

19     at a time unknown to the Plaintiff but no later than 2017, and such conduct has continued through

20     the present. This action is timely brought pursuant to the Tolling Agreement, originally executed

21     by TikTok’s counsel on July 29, 2022, which tolls all claims ripe as of March 2, 2022, and which

22     terminated on June 1, 2024.

23                         DEFENDANTS’ BUSINESS ACTS AND PRACTICES
24     I.    TIKTOK’S BUSINESS MODEL COERCIVELY MAXIMIZES THE TIME YOUNG USERS
             SPEND ENGAGING WITH THE TIKTOK PLATFORM.
25

26           53.      TikTok’s business model is based on maximizing users’ engagement with the

27     TikTok platform, as measured by the amount of time the user spends on the platform and other

28     indicia, like the number of times (and times of day) a user opens the platform, whether a user
                                                         13
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 1     allows a video to play to completion or swipes to another screen, whether a user clicks “Like” or
 2     “Share” buttons, etc. As described in Section II.A. below, TikTok employs what it refers to as
 3     “                           ” to induce excessive, compulsive and addictive use that maximizes users’
 4     engagement.
 5           54.       TikTok’s primary source of income is advertising revenue, earned by showing
 6     third-party advertisements to users on its platform. 22 The advertisements take many forms,
 7     including full-screen ads that play when users first open the platform, in-feed ads that appear

 8     intermittently between non-advertisements, branded hashtag challenges, branded filters, and

 9     video-editing effects. 23

10           55.       The more user data TikTok collects, the better targeted advertising space it can

11     sell, which increases its revenue. 24 TikTok has thus designed a business model in which it is

12     incentivized to increase user engagement. And TikTok pursues that goal through means that

13     promote excessive, compulsive and addictive use, as well as other harms.

14           56.       Further, TikTok targets young users with its “                              ” to maximize

15     the business model’s success.

16           A.     Since it entered the United States market, TikTok focused on acquiring
                    and exploiting young users and their data.
17
             57.       ByteDance Ltd. entered the American market in December 2017 by acquiring
18
       Musical.ly, a popular social media app launched in 2014 that allowed users to create and post
19
       short videos of themselves lip-syncing and dancing to popular songs. 25 At the time, ByteDance
20

21             22
                  See Lydia Kibit, How Does TikTok Make Money?, GOBANKINGRATES (Apr. 23, 2021),
       https://www.gobankingrates.com/money/business/how-does-tiktok-make-money.
22             23
                  See Abi Travis, TikTok Is a Free App, So How Does It Make Money?, DISTRACTIFY
       (Aug. 5, 2020), https://www.distractify.com/p/how-does-tiktok-make-money; Branded Effect:
23     Play Your Brand Center Stage, TIKTOK (July 13, 2021), https://www.tiktok.com/business/en-
       US/blog/branded-effect-place-your-brand-center-stage?ab_version=control [https://web.archive.
24     org/web/20240924172334/https://www.tiktok.com/business/en-US/blog/branded-effect-place-
       your-brand-center-stage?ab_version=control].
25             24
                  See Zheping Huang, TikTok Has a Few Main Ingredients for Making Money,
       BLOOMBERG (June 28, 2022), https://www.bloomberg.com/news/newsletters/2022-06-28/how-
26     does-tiktok-make-money-app-relies-on-a-few-main-ingredients (noting that TikTok’s algorithm
       helps it serve “more appealing ads and triple its ad revenue”).
27             25
                  See Paul Mozur, Musical.ly, a Chinese App Big in the U.S., Sells for $1 Billion, N.Y.
       TIMES (Nov. 10, 2017), https://www.nytimes.com/2017/11/10/business/dealbook/musically-sold-
28     app-video.html.
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 1     Ltd. paid approximately $1 billion to acquire Musical.ly and the accounts and content of its
 2     millions of users. 26 Musical.ly’s wholly owned subsidiary, Musical.ly, Inc., was a California
 3     corporation with its principal place of business in Santa Monica, California.
 4           58.      Musical.ly was particularly popular with American teens, 27 and it had at least 60
 5     million mostly U.S. users, 28 with a significant percentage of them children under age 13. 29
 6           59.      To register for the Musical.ly app, users provided their email address, phone
 7     number, username, first and last name, a short biography, and a profile picture. Between

 8     December 2015 and October 2016, Musical.ly also collected geolocation information from users

 9     of the app. 30 Before July 2017, Musical.ly did not require users to enter their age when creating

10     an account. Musical.ly never requested age information for existing users who created accounts

11     prior to July 2017. “A significant percentage of Musical.ly users [were] children under 13, and

12     numerous press articles between 2016 and 2018 highlight the popularity of the App among

13     tweens and younger children.” 31

14           60.      In August 2018, ByteDance Ltd. merged the Musical.ly app with the TikTok app

15     and began operating as TikTok. 32

16           61.      Shortly thereafter in February 2019, Musical.ly—which, by that time, was known

17     and operating as TikTok—paid the FTC $5.7 million to settle allegations that Musical.ly violated

18     the Children’s Online Privacy Protection Act (COPPA) by illegally collecting and using personal

19     information from children without parental consent. 33

20
              26
                 See id.
21            27
                  See Paresh Dave, China’s ByteDance Scrubs Musical.ly Brand in Favor of TikTok,
       REUTERS (Aug. 2, 2018), https://www.reuters.com/article/us-ByteDance-musically/chinas-
22     ByteDance-scrubs-musical-ly-brand-in-favor-of-tiktok-idUSKBN1KN0BW.
               28
                  See Jon Russell & Katie Roof, China’s Bytedance Is Buying Musical.ly in a Deal Worth
23     $800M-$1B, TECHCRUNCH (Nov. 9, 2017), https://techcrunch.com/2017/11/09/chinas-toutiao-is-
       buying-musical-ly-in-a-deal-worth-800m-1b.
24             29
                  See Complaint ¶¶ 12‒23, United States v. Musical.ly, et al., No. 2:19-cv-1439 (C.D.
       Cal. Feb. 27, 2019) (hereinafter Musical.ly Complaint).
25             30
                  Id. at ¶ 13.
               31
                  See id. at ¶¶12‒23.
26             32
                  See id. at ¶ 23; see also Dave, supra note 27.
               33
                  See Press Release, Fed. Trade Comm’n, Video Social Networking App Musical.ly
27     Agrees to Settle FTC Allegations That it Violated Children’s Privacy Law (Feb. 27, 2019),
       https://www.ftc.gov/news-events/news/press-releases/2019/02/video-social-networking-app-
28     musically-agrees-settle-ftc-allegations-it-violated-childrens-privacy.
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 1           62.      Those COPPA violations fueled TikTok’s growth and immense popularity because
 2     the lack of effective age verification made it easier for children under 13 to sign up and consume
 3     content. Additionally, those same users gave TikTok more posts to engage existing users and to
 4     attract new users to the platform.
 5           63.      In March 2019, the month of its FTC settlement, TikTok bifurcated its platform
 6     into “Kids Mode” (intended for use by children who report their age as under 13) and what
 7     TikTok calls the “      ” or “               ” (the standard version of TikTok, available to

 8     everyone who reports their age as 13 or older). “Kids Mode” is a TikTok experience for “

 9          ” featuring “

10                                ” as well as other restrictions.

11           64.      As described in detail below, see infra Section V., TikTok collects personal data

12     from young users in both experiences, but does not seek parental consent before collecting young

13     users’ personal data.

14           B.     TikTok remains highly incentivized to keep young people on and addicted
                    to the platform.
15

16           65.      An internal review

17                                                                                  According to internal data

18     from 2019,

19                          One TikTok 2019 internal presentation states

20                                                                                . TikTok considers users

21     under age 13 a critical demographic, believing such young users will continue to use the platform

22     to which they are accustomed “                          ”

23           66.      With its relentless focus on young people, TikTok’s growth in the United States

24     exploded. Through at least 2020, the users aged 17 and under were a key driver of the platform’s

25     user growth in the United States.

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 1           67.      TikTok’s internal data
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15           68.      In 2023, 63% of all Americans aged 13 to 17 who responded to a Pew Research
16     survey reported using TikTok, and most teenagers in the U.S. were using TikTok daily; 17% of
17     American teens said that they were on TikTok “almost constantly.” 34
18     II.   TIKTOK UNFAIRLY HARMS YOUNG USERS THROUGH ITS INTENTIONALLY ADDICTIVE
             PLATFORM AND THROUGH HARMFUL BEAUTY FILTERS.
19

20           69.      TikTok designs and deploys exploitative and manipulative features to addict
21     young users and maximize their time on its platform. This is not an accidental byproduct of its

22     efforts to grow its base of young users and increase its advertising revenues. Rather, addicting

23     young users to its platform is a central pillar in its growth strategy—and one that TikTok has

24     doggedly pursued notwithstanding the harm to those young users.

25

26

27            34
               See Monica Anderson, et al., Teens, Social Media and Technology 2023, PEW
       RESEARCH CTR. (Dec. 11, 2023), https://www.pewresearch.org/internet/2023/12/11/teens-social-
28     media-and-technology-2023/.
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 1            70.       TikTok designed its platform to capture as much of its users’ time and attention as
 2     possible, and it admits that
 3                              The more time users spend on the platform, the more ads they watch,
 4     which increases TikTok’s ad revenue. TikTok has long prioritized maximizing the amount of
 5     time that teenagers spend on its platform. The New York Times reported that TikTok’s success
 6     largely comes from the significant amount of time users spend on the platform: “TikTok’s users
 7     spend an average of 96 minutes a day on the app—nearly five times what they spend on

 8     Snapchat, triple their time on Twitter, and almost twice as much as their time on Facebook and

 9     Instagram.” Rich Greenfield, a technology analyst quoted in the article, stated: “TikTok is eating

10     the world. The only thing that matters in the world of entertainment is time spent.” 35

11            71.       TikTok’s internal documents

12

13

14            72.       Interviews of TikTok employees

15                                                                                                   . For

16     example,

17

18                                                                                     An internal document

19     also

20            73.       A report from “TikTank,” an internal TikTok research group,

21

22

23                  The report also

24

25            74.       In particular, TikTok has long prioritized maximizing the amount of time that

26     young users spend on its platform. Internal TikTok documents note that

27
               35
                Kalley Huang et al., TikTok Builds Itself Into an Ads Juggernaut, N.Y. TIMES (Nov. 14,
28     2022), www.nytimes.com/2022/11/14/technology/tiktok-ads-social-media.html.
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 1

 2                     and that
 3

 4           75.      TikTok conducts                                                 . It has found that
 5

 6

 7           76.      TikTok optimizes its platform for maximum use by young people. It tracks metrics

 8     to measure its success, such as:

 9

10                                                                TikTok uses this information to

11

12           77.      TikTok also targets Californian and other American children under the age of

13     thirteen with its “Kids Mode” version of the platform.

14           78.

15

16

17

18           79.                                                    TikTok expressly stated that

19

20

21           80.      TikTok’s efforts to maximize usage of its platform by Californian teenagers and

22     children have been extremely successful. The TikTok app is now American teens’ “primary

23     social app of choice.” 36

24

25

26

27            36
               See Andrew Hutchinson, New Survey Underlines TikTok’s Popularity with Teen Users,
       SOC. MED. TODAY (Nov. 7, 2022), https://www.socialmediatoday.com/news/Survey-Underlines-
28     TikToks-Popularity-with-Teens/635961.
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 1           A.    TikTok designed its platform to promote excessive, compulsive, and
                   addictive use.
 2
             81.      TikTok created platform features intended to cause excessive, compulsive, and
 3
       addictive use. For young users of the TikTok platform, the features’ impacts are severe, and
 4
       include increased levels of depression and anxiety disorders, reduced sleep, self-harm, suicidal
 5
       ideation, and eating disorders.
 6
             82.      TikTok’s algorithms and design decisions are intended to cause young users to
 7
       compulsively spend increasing amounts of time on the platform. TikTok outfitted its platform
 8
       with features that its own employees describe as “
 9
                                             who TikTok employees also acknowledge, “
10
                                         ”
11
             83.      TikTok’s design choices exploit the neurotransmitter dopamine, which helps
12
       humans feel pleasure as part of the brain’s reward system to encourage reinforcement. Dopamine
13
       “rewards” can lead to addictive behavior, particularly when rewards are unpredictable.
14
             84.      Unpredictably delivered dopamine hits, known as “variable rewards,” are
15
       particularly effective at influencing human behavior. A report about persuasive design called
16
       Disrupted Childhood
17

18
       explained how variable rewards produce dopamine rushes:
19
             Variable rewards hold a special thrill, as the user anticipates a reward that they know
20           could come but is tantalisingly just out of reach. A gambler waiting to see where the
             roulette wheel will stop or a viewer watching a presenter’s dramatic pause before they
21           announce a winner. In both cases, the individuals experience a dopamine rush as they
             anticipate the unknown outcome. 37
22

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              37
               See BARONESS KIDRON, ET AL., DISRUPTED CHILDHOOD: THE COST OF PERSUASIVE
28     DESIGN 20 (June 2018).
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 1           85.      The anticipation of the reward, not just the reward itself, drives compulsive and
 2     unhealthy habit formation. 38                      “[o]nce the reward has been absorbed, the
 3     dopamine fades leaving the desire for more.” 39
 4           86.      TikTok successfully harnesses this well-researched method to fuel excessive,
 5     compulsive, and addictive use of its platform, while knowing that the prospect of an
 6     unpredictable dopamine “reward” 40 is even more addicting than consistent dopamine “rewards.”
 7           87.      To that end, the platform deploys variable rewards to its users. Some of the

 8     features that deliver these variable rewards, such as push notifications and the recommendation

 9     system, are described below. Younger users of the platform find it especially difficult “to ignore

10     the prospect of a dopamine reward, even when this conflicts with other essential daily activities,

11     such as sleeping or eating.” 41

12           88.      TikTok knows that minors are particularly susceptible to compulsive use of its

13     platform. A TikTok-commissioned report corroborates that young developing brains are

14     vulnerable to harmful addictive behaviors:

15
             [I]f adapting to physical changes poses a new set of challenges to the developing
16           young person, the rapid development of the brain brings additional and perhaps
             greater ones. In healthy development, the Limbic system of the brain (which regulates
17           emotion and feelings of reward) undergoes dramatic changes between [the] ages of
             10-12 years. These changes then interact with the pre-frontal cortex of the brain (the
18           judgement centres) to promote novelty seeking behaviour, risk-taking and interactions
             with peers. In simple terms, this means there is a phase of intense emotion, whilst
19           judgment can appear to be less acute, as those ‘judgement centres’ of the brain are
             being revised. . . . [UNICEF] describes early adolescence as a time of rapid learning
20

21
              38
                   See, e.g., Christopher D. Fiorillo, et al., Discrete Coding of Reward Probability and
22     Uncertainty by Dopamine Neurons, 299 SCI. 1898 (2003); Jakob Linnet, Neurobiological
       Underpinnings of Reward Anticipation and Outcome Evaluation in Gambling Disorder, 8
23     FRONTIERS BEHAV. NEUROSCIENCE 100 (2014); Ruth J. van Holst et al., Distorted expectancy
       coding in problem gaming: is the addictive in the anticipation?, 71 BIOLOGICAL PSYCHIATRY 741
24     (2012).
                39
                   See KIDRON, supra note 37.
25              40
                   See Stephanie Watson, Dopamine: The Pathway to Pleasure, HARV. MED. SCH. (Apr.
       18, 2024), https://www.health.harvard.edu/mind-and-mood/dopamine-the-pathway-to-pleasure
26     [https://web.archive.org/save/https://www.health.harvard.edu/mind-and-mood/dopamine-the-
       pathway-to-pleasure].
27              41
                   See KIDRON, supra note 37, at 20 n. 67 (citing Ben Carter et al., Association between
       portable screen-based media device access or use and sleep outcomes, 170 JAMA PEDIATRICS
28     12, 1202–08 (2016).
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 1           and brain development, which facilitates increases in sensation-seeking, motivation
             for social relations and sensitivity to social evaluation[.] 42
 2

 3           89.        As the Disrupted Childhood report found, “[c]hildren’s predilection to seek

 4     immediate gratification makes them particularly susceptible to habit-forming rewards” 43—a

 5     susceptibility that TikTok exploits for greater profits. 44

 6           90.        The unpredictable “rewards” that the TikTok platform provides—such as “Likes”

 7     (received when a user clicks a heart-shaped button on a video); “follows” (a user’s decision to

 8     “follow” another user’s account); and “comments” (user comments to posts on the platform)—are
       social rewards. TikTok knows
 9
                                                                     TikTok leverages this sensitivity and
10
       doles out social rewards to keep young users on its platform for longer periods of time.
11
             91.        Minors are susceptible to becoming addicted to the TikTok platform because
12
       younger brains have not had as much time to develop as those of adults. TikTok takes advantage
13
       of this vulnerability,
14
                And creating this addiction is TikTok’s goal. Internal presentations note that
15

16

17
                                                                              One of TikTok’s internal goals
18
       in 2020 was to                                                                           .
19

20

21

22             42
                   ZOE HILTON ET AL., EXPLORING EFFECTIVE PREVENTION EDUCATION RESPONSES TO
       DANGEROUS ONLINE CHALLENGES (Praesidio Safeguarding, Nov. 2021),
23     https://praesidiosafeguarding.co.uk/safe-guarding/uploads/2021/11/Exploring-effective-
       prevention-education-responses-to-dangerous-online-challenges-English-UK-compressed-1.pdf
24     [https://web.archive.org/web/20240923223930/
       https%3A%2F%2Fpraesidiosafeguarding.co.uk%2Fsafe-guarding%2Fuploads%2F2021%2F11%
25     2FExploring-effective-prevention-education-responses-to-dangerous-online-challenges-English-
       UK-compressed-1.pdf].
26              43
                   See KIDRON, supra note 37, at 20.
                44
                   See Mansoor Iqbal, TikTok Revenue and Usage Statistics (2024), BUS. OF APPS (Feb.
27     22, 2024), [https://web.archive.org/web/20240228170624/https:/www.businessofapps.com/
       data/tik-tok-statistics] (showing TikTok generated an estimated $9.64 billion revenue in 2022 by
28     increasing the time that young users spend on the app).
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 1                   1.     TikTok intended its “recommendation system” to induce excessive,
                            compulsive, and addictive use by recommending an endless stream of
 2                          content to users.

 3           92.          The central feature of the TikTok platform is its “recommendation system,” which
 4     is a complex series of algorithms that powers the “For You feed.” As, TikTok CEO Shou Chew
 5     said “it’s just math, that’s it.” 45 The For You feed provides users with a stream of videos that
 6     TikTok’s recommendation system calculates will keep users on the platform. And it works. One
 7     internal document                                                                  notes,
 8

 9                             ”

10           93.          TikTok’s For You feed recommendation system is, in large part, composed of the

11     following:

12

13

14

15

16

17

18

19           94.          TikTok’s recommendation system is content-agnostic. In TikTok’s own words, the

20     system is “                  .” Multiple internal documents

21                                      .

22           95.          The recommendation system processes how users respond to what they view on

23     the platform—                                                                                 —and

24     calculates more videos with the goal to keep users on the platform for longer periods. The

25     engineers who designed and implemented the recommendation system programmed it to

26     maximize time spent on TikTok.

27
              45
               TikTok C.E.O. Shou Chew on China, the Algorithm and More, New York Times
28     Dealbook Summit (December 1, 2022) https://www.youtube.com/watch?v=EE5Pcz99JFI.
                                                         23
                                                         Complaint for Injunctive and Other Relief [Public-Redacted]
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 1           96.        The recommendation system accomplishes this in part through the deployment of
 2     intermittent variable rewards.
 3

 4           97.        TikTok employees, including those working on the recommendation system,
 5     understand that the three greatest measures of the company’s success are: (1) attracting users,
 6     (2) retaining users, and (3) keeping them on the platform for longer and longer.
 7

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16
                   2.      TikTok uses multiple features to manipulate young users into
17                         compulsive and excessive use.

18           98.        TikTok has built specific features to increase young users’ time spent on the

19     platform, which—independently and together—create the compulsive use, excessive use, and

20     addiction that harm TikTok’s young users. These features increase users’ time on TikTok’s

21     platform and promote unhealthy use regardless of the content.

22                               (1)    Effects
23           99.        TikTok’s platform contains filters, or “Effects,” which allow users to alter their
24     appearance in photos and videos. As described in Section II.B., these Effects are deeply harmful
25     to young users. When combined with the platform’s other features, they incentivize young users
26     to alter their appearance in images and videos in ways that mimic cosmetic surgery and/or foster
27     unrealistic beauty standards, among other body dysmorphic impacts that are known to harm self-
28     esteem and induce negative body image.
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 1           100.       Because TikTok knows these Effects features significantly increase usage of the
 2     platform, particularly among young users, it retains these “Effects” despite the harm to young
 3     users. Indeed,
 4

 5                                      .
 6                              (2)   Autoplay

 7           101.       When a user launches the TikTok platform, a video automatically begins to play in
 8     the user’s For You feed. This feature, called “Autoplay,” is designed to immediately grab the

 9     user’s attention and immerse them into the platform. TikTok internally

10                                                                                         . To manipulate

11     users into compulsively spending more time on the platform, TikTok does not allow them to

12     disable Autoplay.

13           102.       TikTok deploys Autoplay to exploit young users’ novelty-seeking minds and

14     especially strong desire to see new activity—                                             —by

15     continuously playing new and only temporarily viewable image and video posts to keep young

16     users on its platform as long as possible.

17           103.       Much like “Infinite Scroll” (described below), Autoplay encourages young users to

18     continuously remain on the platform because it does not require user intervention to choose to

19     view the next video, eliminating user autonomy. The video is already loaded, and the user need

20     only swipe up. This reduces so-called “friction” in the user experience (i.e., something that slows

21     down a user from performing an action), and by default and by design, keeps young users on the

22     platform for longer periods of time.

23                              (3)   Endless or Infinite Scroll

24           104.       Another feature that removes friction—and thereby increases addiction—is

25     endless scrolling, also referred to as “Infinite Scroll.” Whenever a user watches a video on

26     TikTok on the For You Page, they can endlessly and seamlessly move from one video to the next

27     simply by swiping up.

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 1           105.     TikTok designed Infinite Scroll to endlessly load and/or offer new videos for the
 2     user to view as the user scrolls through their feed, removing any need to take action beyond a
 3     simple swipe to view more videos. As a user scrolls through their feed, the platform continuously
 4     and perpetually selects and shows more videos to the user.
 5           106.     Endless scrolling compels young users to spend more time on the platform by
 6     making it difficult to disengage. 46 It strips away a natural stopping point or opportunity to turn to
 7     a new activity. 47 This perpetual stream is designed to “keep [users] scrolling, and purposely

 8     eliminate any reason for [them] to pause, reconsider or leave.” 48 The user’s experience is a

 9     bottomless “flow state” that fully immerses users, distorts their perception of time, and has been

10     shown to be associated with problematic use of social media platforms. 49 TikTok knows that

11

12

13                              (4)   TikTok Stories and TikTok LIVE

14           107.     The ephemeral aspects of TikTok Stories, content that vanishes two hours after

15     being posted, and TikTok LIVE, a livestreaming service within the platform, encourage young

16     users to compulsively return to the platform by exploiting young users’ uniquely sensitive “fear

17     of missing out” (FOMO).

18           108.     TikTok Stories allows users to post short videos that vanish after 24 hours. By

19     design, this rapidly disappearing content pressures young users to check the TikTok platform

20
              46
                  See Why We Can’t Stop Scrolling, GCFGLOBAL, https://edu.gcfglobal.org/en/digital-
21     media-literacy/why-we-cant-stop-scrolling/1 [https://web.archive.org/web/20240927023532/
       https://edu.gcfglobal.org/en/digital-media-literacy/why-we-cant-stop-scrolling/1/].
22             47
                  See id.
               48
                  See Von Tristan Harris, The Slot Machine In Your Pocket, SPIEGEL INT’L (July 27,
23     2016), https://www.spiegel.de/international/zeitgeist/smartphone-addiction-is-part-of-the-design-
       a-1104237.html.
24             49
                  See Nino Gugushvili, et al., Facebook Use Intensity and Depressive Symptoms: A
       Moderated Mediation Model of Problematic Facebook Use, Age, Neuroticism, and Extraversion,
25     10 BMC PSYCH. 1, 3 (Nov. 28, 2022); Christopher L. Heffner, Doomscrolling: The Ultimate
       Negative Flow State and Four Ways to Counter It, ALLPSYCH (Nov. 26, 2022),
26     https://allpsych.com/doomscrolling-the-ultimate-negative-flow-state; Hannah Jantos, The
       Psychology of TikTok: Why You Can’t Stop Scrolling, SOC. FIXATION (Sept. 20, 2022),
27     https://www.socialfixation.com.au/post/why-its-hard-to-stop-scrolling-psychology-behind-tiktok-
       scroll [https://web.archive.org/web/20240425013456/https://www.socialfixation.com.au/
28     post/why-its-hard-to-stop-scrolling-psychology-behind-tiktok-scroll].
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 1     more frequently. TikTok Stories are meant to “inspir[e] audiences to check on their favorite
 2     creators daily to never miss a thing.” 50
 3

 4           109.     TikTok similarly sought to leverage young users’ FOMO with the TikTok LIVE
 5     feature. 51 By default, LIVE content—livestreamed videos and real-time interaction with TikTok
 6     users—is available only once: while the creator livestreams. 52 Young users must tune in
 7     immediately or lose the opportunity to interact.

 8           110.     TikTok compounds the urgency to immediately view LIVE videos with push

 9     notifications designed to get young users back on the platform to watch the livestreamed videos,

10     even if they occur at inappropriate times, such as during school.

11           111.     TikTok conceptualized                                                               It

12     believed

13

14

15                              (5)   Push Notifications

16           112.     Notifications are integral to TikTok’s business goal of prolonging the time young

17     people spend on its platform. Notifications are TikTok-created signals displayed on a user’s

18     device with TikTok-created messages that alert a user of activity on the platform to prompt a

19     return to or continued use of the app. These notifications contain messages crafted and sent by

20     TikTok without third-party involvement. By default, TikTok enables a range of audio and visual

21     “Push Notifications” when the app is installed on a smartphone.

22

23

24

25            50
                  See Creator Academy, TIKTOK, [https://web.archive.org/web/20240330031456/https://
       www.tiktok.com/creators/creator-portal/en-us/tiktok-content-strategy/tiktok-stories-what-it-is-
26     and-how-to-use-it].
               51
                  See Laura Marciano, et al., The Developing Brain in the Digital Era: A Scoping Review
27     of Structural and Functional Correlates of Screen Time in Adolescence, 12 FRONTIERS PSYCH. 1
       (Aug. 2021).
28             52
                  See Creator Academy, supra note 50.
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 1             113.   The TikTok platform’s push notifications alert young users on their smartphones
 2     and desktops even when the TikTok platform is not open, including when the device is not being
 3     used.
 4             114.   TikTok purposefully and carefully designed these notifications, including how
 5     they are “pushed” and displayed, to increase young users’ time spent on its platform by taking
 6     advantage of well-understood neurological and psychological phenomena, including using sounds
 7     and vibrations to trigger sudden dopamine releases and preying on youth’s social sensitivity and

 8     fear of missing out on seeing new activity. 53 These notifications include buzzes, lights, sounds,

 9     and onscreen messages that draw young users’ attention to their phones and desktops, and

10     ultimately to the TikTok platform.

11             115.   Push notifications are accompanied by a “badge,” a red circle sitting atop the

12     TikTok application icon on the user’s smartphone, to further draw the user’s attention. The badge

13     remains until the user opens the TikTok platform.

14             116.   TikTok employees

15

16             117.   TikTok operationalized this goal by creating a plethora of push notifications to

17     unfairly entice young users by optimizing the time and frequency of push notifications to compel

18     a user to return to the platform.

19             118.   Yet another tactic that TikTok uses to manipulate young users to prolong their

20     time on or return to its platform is deploying “Intermittent Variable Rewards” (IVRs)—the same

21     psychological mechanism that underlies the addictive nature of slot machines.

22             119.   IVRs provide positive stimuli at random, unpredictable intervals interspersed with

23     neutral stimuli. When a positive stimuli is received (e.g., a notification that someone “liked” your

24     post), it creates a psychologically-pleasing dopamine release, keeping a user in a feedback loop to

25

26
                53
                  See Trevor Haynes, Dopamine, Smartphones & You: A Battle for Your Time, HARV. U.
27     GRADUATE SCH. ARTS & SCIS. BLOG (May 1, 2018), https://sitn.hms.harvard.edu/flash/2018/
       dopamine-smartphones-battle-time [https://web.archive.org/web/20240923233013/
28     https://sitn.hms.harvard.edu/flash/2018/dopamine-smartphones-battle-time].
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 1     continually check the app for more rewarding stimuli. 54 Because the rewards are unpredictable
 2     and intermittent, young users never know if their next notification will be the one that makes
 3     them feel really good 55—which keeps young users returning to the platform compulsively. 56
 4           120.      TikTok knows that its IVR schedule for delivering notifications
 5                                                                               .
 6           121.      TikTok has even used fictitious badge notifications to lure users onto the platform.
 7     Badges are commonly used in smartphone applications to “

 8                 ” and ordinary users would understand it as such. TikTok relied on this perception to

 9     manipulate users into opening its platform. It designed a system to grab users’ attention by

10     displaying badges with random numbers unconnected to any actual content or interactions

11     available on the platform. TikTok employees

12

13

14

15           122.      Notifications succeed at keeping young users on the TikTok platform as TikTok

16     intends.

17

18

19

20           123.      Notably, TikTok knows young users are directly harmed by receiving these

21     incessant notifications, which interfere with users’ free choice to stop using the platform and

22     disrupts users’ sleep. For example,

23

24            Only recently did TikTok stop sending notifications during certain nighttime hours.

25

26            54
                  Rasan Burhan & Jalal Moradzadeh, Neurotransmitter Dopamine (DA) and its Role in
       the Development of Social Media Addiction, 11 J. NEUROLOGY & NEUROPHYSIOLOGY 507 (2020)
27             55
                  See Mark D. Griffiths, Adolescent Social Networking: How do Social Media Operators
       Facilitate Habitual Use?, 36 J. EDUC. & HEALTH 66 (2018).
28             56
                  Haynes, supra note 53.
                                                        29
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 1           124.      TikTok employs these coercive, deceptive, and relentless notifications because
 2     they are effective at keeping young users on its platform—irrespective of their harmful health
 3     effects.
 4                              (6)      “Likes,” Comments, and Other Interactions

 5           125.      TikTok’s notifications through “Likes,” comments, and other interactions,
 6     including the number of Likes and the timing, delivery, and packaging of notifications of positive
 7     social validation, are classified as types of variable rewards since they are “
 8                                           ”

 9           126.      Educators explain that Likes “serve as a reward for social media users.” 57 A New

10     York University professor describes what happens to the brain when a user receives a notification

11     that “someone ‘likes’ your post” on a social media platform as “[t]he minute you take a drug,

12     drink alcohol, smoke a cigarette if those are your poison, when you get a ‘like’ on social media,

13     all of those experiences produce dopamine, which is a chemical that’s associated with

14     pleasure.” 58

15           127.      TikTok’s delivery of these dopamine rewards encourages young users to post more

16     videos 59 and spend more time on the platform, which promotes user retention and, again,

17     financially benefits TikTok. 60

18           128.      TikTok encourages young users to respond to videos that have few Likes by

19     automatically showing a TikTok-created prompt suggesting that the viewer should hit the Like

20     button. TikTok’s reasoning behind this prompt is that

21

22
                  57
                  See Sophia Petrillo, What Makes TikTok so Addictive?: An Analysis of the Mechanisms
23     Underlying the World’s Latest Social Media Craze, BROWN UNDERGRADUATE J. PUB. HEALTH
       (Dec. 13, 2021), https://sites.brown.edu/publichealthjournal/2021/12/13/tiktok.
24             58
                  See Eames Yates, What Happens to Your Brain When You Get a Like on Instagram,
       BUS. INSIDER (Mar. 25, 2017), https://www.businessinsider.com/what-happens-to-your-brain-
25     like-instagram-dopamine-2017-3.
               59
                  See Haynes, supra note 53 (“Smartphones have provided us with a virtually unlimited
26     supply of social stimuli, both positive and negative. Every notification, whether it’s a text
       message, a “like” on Instagram, or a Facebook notification, has the potential to be a positive
27     social stimulus and dopamine influx.”).
               60
                  See generally Iqbal, supra note 44 (noting that TikTok generated an estimated $14.3
28     billion revenue in 2023).
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 1           129.       TikTok designs and engineers its platform to show Creators a “              ” of Likes,
 2     comments, and view counts when they watch their own videos. This inundation of rewards
 3     encourages young users to post even more videos.
 4           130.       TikTok publicly quantifies and displays the number of these pseudo-social
 5     interactions in a way that drives more use of its platform, despite knowing the harmful effects on
 6     its teenage users. In internal documents,
 7

 8

 9           131.       TikTok recognizes that the way its platform quantifies interactions, such as the

10     number of Likes or comments, are of particular importance to teenagers. These interactions

11     contribute to young users’ FOMO, addictive use, and social comparison.

12           132.       TikTok’s own research shows that

13                                                                                       . For example,

14

15

16                                   . Despite being aware of the psychological harms caused by Likes

17     and similar social interactions, TikTok continues to purposely use various methods to display,

18     quantify, package, and notify young users of these social validation metrics to exploit their social

19     sensitivities and coerce young users to spend an unhealthy amount of time on the platform.

20           133.                                                                                  a report

21     explaining how coercive design impacts teenagers:

22
             Persuasive design strategies exploit the natural human desire to be social and popular,
23           by taking advantage of an individual’s fear of not being social and popular in order to
             extend their online use. For young people, identity requires constant attention,
24           curation and renewal. At key development states it can be overwhelmingly important
             to be accepted by your peer group. 61
25

26

27

28            61
                   See KIDRON, supra note 37, at 21.
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 1           134.     TikTok’s design and display of highlighting social validation and quantification
 2     metrics has an especially powerful effect on teenagers and can neurologically alter teenagers’
 3     perception of online posts.
 4           B.     TikTok designs and provides beauty filters that it knows harm its young
                    users.
 5

 6           135.     In addition to TikTok’s features causing compulsive and addictive use, TikTok’s
 7     features also harm young users in other ways.
 8           136.     TikTok’s so-called “beauty” features are an example of such further harmful
 9     features, as the beauty features implicitly encourage unhealthy, negative social comparisons—

10     which, in turn, can cause body image issues and related mental and physical disorders.

11           137.     A 2022 TikTok study found that use of the TikTok platform was indirectly related

12     to body dissatisfaction through more upward appearance comparison (users comparing their

13     appearances to those of individuals they deem more attractive than themselves) and body

14     surveillance (users scrutinizing and monitoring their own bodies), which results in greater body

15     dissatisfaction. 62 The researchers also found that being exposed to a high number of positive body

16     image media actually has a negative effect and results in an increase in appearance

17     comparisons. 63

18           138.     TikTok’s beauty filters and “Effects” allow young users to alter their appearance

19     in photos and videos before posting them onto the platform. These, often unrealistic, appearance

20     altering filters are especially dangerous to young users because they can lead to negative self-

21     obsession or self-hatred of their appearance. 64 The beauty filters also harm young users by forcing

22     comparison between their actual, real-life appearance and their edited appearance. Indeed, plastic

23

24

25            62
                 See Danielle Bissonette Mink & Dawn M. Szymanski, TikTok Use and Body
       Dissatisfaction: Examining direct, indirect, and moderated relations, 43 BODY IMAGE 205, 205-
26     08 (2022).
              63
                 See id.
27            64
                 See Tara Well, The Hidden Danger of Online Beauty Filters, PYSCH. TODAY (Mar. 25,
       2023), https://www.psychologytoday.com/us/blog/the-clarity/202303/can-beauty-filters-damage-
28     your-self-esteem.
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 1     surgeons have reported an increase in patients seeking procedures to look better on-screen and
 2     have remarked that TikTok’s advanced “Effects” “blur[] the line between fantasy and reality.” 65
 3           139.     TikTok designs and refines these filters to stimulate increased user engagement
 4     with the TikTok platform, thereby increasing TikTok’s revenues. TikTok knows these “Effects”
 5     can harm users, but it chooses to keep them and actively conceals the known dangers in
 6     representations to users, including parents and youth.
 7           140.     Even more egregious than the “Effects” filters is TikTok’s “RETOUCH” feature,

 8     formerly called “Beauty” mode. “RETOUCH” incorporates

 9                  to artificially augment (or, in TikTok’s words, to apply “retouch/beautification/skin

10     smoothing” to) the user’s appearance.

11           141.     Through TikTok’s “RETOUCH” suite of tools, users can adjust many of their

12     physical attributes to align with the user’s sense of aspirational beauty standards. For example,

13     “RETOUCH” can change the size and shape of a user’s jaw, nose, lips, and eyebrows; whiten a

14     user’s teeth; smooth a user’s skin; and adjust a user’s skin tone or color. 66

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                  Press Release, Am. Academy of Facial Plastic & Reconstructive Surgery, Inc., ‘TikTok
24     Face’ Impact on Facial Plastic Surgery, https://www.aafprs.org/Media/Press_Releases/
       %E2%80%98TikTok-Face%E2%80%99-Impact-On-Facial-Plastic-Surgery.aspx?WebsiteKey
25     =5d3e122f-6cba-47ca-a903-c75cb1c94f61 [https://web.archive.org/web/20240923234748/https://
       www.aafprs.org/Media/Press_Releases/%E2%80%98TikTok-Face%E2%80%99-Impact-On-
26     Facial-Plastic-Surgery.aspx?WebsiteKey=5d3e122f-6cba-47ca-a903-c75cb1c94f61].
               66
                  See Alena Arsenova, What is AR Beauty and How It Benefits Makeup, Salons, and
27     Retail, BANUBA (May 19, 2021), https://www.banuba.com/blog/beauty-ar-technology-
       possibilities-and-use-case [https://web.archive.org/web/20240924161404/
28     https://www.banuba.com/blog/beauty-ar-technology-possibilities-and-use-case].
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 1           142.     TikTok embeds the “RETOUCH” feature into the user interface such that the icon
 2     representing the “RETOUCH” toolset appears on the right-hand side of the screen whenever a
 3     user prepares to record a video.
 4           143.     In the spring of 2023, TikTok created, designed, and published the “Bold
 5     Glamour” filter. This extremely advanced filter, like the RETOUCH feature, is a sophisticated
 6     face filter that dramatically alters the user’s image. Like the RETOUCH feature, it is very
 7     difficult for viewers to know that an image filter was applied to a video, 67 which may encourage

 8     unrealistic comparisons and foster body dysmorphia. TikTok’s Bold Glamour filter changes the

 9     user’s image to mimic the effects of makeup and cosmetic surgery. 68 The following before and

10     after photos of the Bold Glamour beauty filter demonstrate the comparison.

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20           144.     The Bold Glamour filter has been wildly successful by TikTok’s measures. It has

21     been used in over 224 million posts.

22           145.     Also, in March 2023, the Dove personal care brand launched a campaign that

23     urged the TikTok users to “#TurnYourBack” on the “Bold Glamour” filter. 69 Dove’s campaign

24
              67
                  See Bruce Y. Lee, TikTok Has a New ‘Bold Glamour’ AI-Powered Filter, Here are the
25     Risks, FORBES (Mar. 12, 2023), https://www.forbes.com/sites/brucelee/2023/03/12/tiktok-has-a-
       new-bold-glamour-ai-powered-filter-here-are-the-risks/?sh=46f63d65f726.
26             68
                  Press Release, Am. Academy of Facial Plastic & Reconstructive Surgery, Inc., supra
       note 65.
27             69
                  See Dove, Dove Invites You to Take a Stand and #TurnYourBack to Digital Distortion,
       PR NEWSWIRE (Mar. 8, 2023), https://www.prnewswire.com/news-releases/dove-invites-you-to-
28                                                                                       (continued…)
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 1     cited studies that found that 52% of girls reported using image-altering features every day, and
 2     80% had used a social media platform to change their appearance before the age of 13. 70 Further
 3     studies cited in the Dove campaign found that 50% of girls believed that they did not look good
 4     without editing their content and that 77% reported trying to change or hide at least one part of
 5     their body using TikTok’s “beauty” features. 71
 6           146.     Two months after the “#TurnYourBack” initiative,
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11           147.

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14           148.     TikTok’s decision to design and deploy these beauty filters, especially in

15     combination with other TikTok product features, harms users. These harms include but are not

16     limited to causing and/or exacerbating: body image issues, including through perpetuating certain

17     beauty stereotypes, such as structural facial features and skin color, that favor Caucasian or

18     European features; eating disorders; body dysmorphia; and related problems. 72 That harm is only

19     compounded for young users by the other TikTok product features that also encourage social

20     comparison. TikTok deploys these filters despite knowing they could harm young users.

21

22     take-a-stand-and-turnyourback-to-digital-distortion-301766207.html
       [https://web.archive.org/web/20240924163430/https://www.prnewswire.com/news-releases/dove-
23     invites-you-to-take-a-stand-and-turnyourback-to-digital-distortion-301766207.html]..
                70
                   See id.
24              71
                   See id.
                72
                   See Scott Griffiths, et al., The Contribution of Social Media to Body Dissatisfaction,
25     Eating Disorder Symptoms, and Anabolic Steroid Use Among Sexual Minority Men, 21
       CYBERPSYCHOLOGY, BEHAV. & SOC. NETWORKING 149, 149 (Mar. 1, 2018); Siân McLean, et al.,
26     Photoshopping the Selfie: Self photo Editing and Photo Investment Are Associated with Body
       Dissatisfaction in Adolescent Girls, 48 INT’L J. OF EATING DISORDERS 1132, 1133 (Aug. 27,
27     2015); Jing Yang, et al., Selfie-Viewing and Facial Dissatisfaction Among Emerging Adults: A
       Moderated Mediation Model of Appearance Comparisons and Self-Objectification, 17 INT’L J.
28     ENV’T RES. & PUB. HEALTH 672, 672 (Jan. 2020).
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 1           149.     A 2021 study measured the harmful impacts of “beauty” filters on users. It found
 2     that users reporting a higher initial level of self-esteem felt that they looked 44% worse before
 3     their image was edited using a filter. In a follow-up survey, “when the AR [augmented reality]
 4     filter increased the gap between how participants wanted to look and how they felt they actually
 5     looked, it reduced their self-compassion and tolerance for their own physical flaws.” 73
 6           150.     TikTok knows that these beauty filters cause significant harm to young users. For
 7     example, internal documents report “

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 9                                                                           ”

10           151.     But TikTok also knows that “beauty” features, such as the “Effects” (including the

11     “Bold Glamour” filter) and “RETOUCH” toolset, increase engagement with the TikTok Platform

12     and, in turn, Defendants’ profit.

13           C.     Through these features, TikTok harms children and teens.

14           152.     Compulsive use of the platform is harmful, especially for younger users.

15     Compulsive use correlates with many negative mental health effects, such as loss of analytical

16     skills, memory formation, contextual thinking, conversational depth, and empathy, as well as

17     increased anxiety. Compulsive use of the platform also interferes with essential personal

18     responsibilities, like getting sufficient sleep, performing duties associated with work and school

19     responsibilities, and connecting with loved ones.

20           153.     The platform’s addictive qualities, and the resulting excessive use by minors,

21     harms those minors’ mental and physical health. Among the harms suffered by TikTok’s younger

22     users are abnormal neurological changes, insufficient sleep, inadequate socialization with others,

23     and increased risk of mood disorders such as depression and anxiety. 74

24
              73
                  See Ana Javornik, et al., Research: How AR Filters Impact People’s Self-Image,
25     Harv. Bus. Rev. (Dec. 22, 2021), https://hbr.org/2021/12/research-how-ar-filters-impact-peoples-
       self-image.
26             74
                  See, e.g., AM. PSYCH. ASS’N, HEALTH ADVISORY ON SOCIAL MEDIA USE IN
       ADOLESCENCE (May 2023), https://www.apa.org/topics/social-media-internet/health-advisory-
27     adolescent-social-media-use.pdf [https://web.archive.org/web/20240919134400/
       https://www.apa.org/topics/social-media-internet/health-advisory-adolescent-social-media-
28                                                                                        (continued…)
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 1           154.     Compulsive use of platforms such as TikTok’s presents with many of the same
 2     harmful effects to minors as substance use disorders.
 3           155.     Internal TikTok documents
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 9           156.     In a

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12           157.     Internally,

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15           158.     Internal documents confirm that

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18           159.     An internal TikTok research report

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25     use.pdf]; see also MEGAN A. MORENO & ANNA F. JOLLIFF, HANDBOOK OF ADOLESCENT DIGITAL
       MEDIA USE AND MENTAL HEALTH, 217–41 (2022); Huges Sampasa-Kanyinga et al., Use of Social
26     Media Is Associated with Short Sleep Duration in a Dose-response Manner in Students Aged 11
       to 20 years, 107 ACTA PAEDIATRICA 694 (2018); Eti B. Simon & Matthew P. Walker, Sleep Loss
27     Causes Social Withdrawal and Loneliness, 9 NATURE COMMC’N 1, 4 (2018); Els van der Helm et
       al., Sleep Deprivation Impairs the Accurate Recognition of Human Emotions, 33 SLEEP 335
28     (2010).
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 1          160.   As shown in the chart below,
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 9          161.   Additional internal TikTok statistics show that,

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 1          162.         Internal documents also confirm                   that:
 2                 a.
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 5                 b.
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 8                 c.

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10                 d.

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14                 e.

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17          163.         Academic researchers corroborate                                that social media

18     addiction, including TikTok usage, is harmful to minors. For example:

19                 a. Research shows that experiencing puberty while being a heavy social media user

20                      interferes with a crucial developmental period for social learning and friendship

21                      formation. Heavy users may emerge from puberty stunted or otherwise harmed,

22                      perhaps permanently. 75

23                 b. Research also shows that “[a]t the individual level, many [young people] have

24                      pointed to negative correlations between intensive social media use and both

25                      subjective well-being and mental health.” 76

26
              75
                 See, e.g., Amy Orben et al., Windows of Developmental Sensitivity to Social Media, 13
27     NATURE COMMC’N 1 (2022).
              76
                 See Hunt Allcott, et. al, The Welfare Effects of Social Media, 110 AM. ECON. REV. 629,
28     630 (2020).
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 1               c. There is also a study that demonstrates that deactivating social media leads to
 2                     “significant improvements in well-being, and in particular in self-reported
 3                     happiness, life satisfaction, depression, and anxiety.” 77
 4           164.       External surveys also show that 16% of U.S. teens say they use the TikTok
 5     platform “almost constantly.” 78 Another 32% say they use it “several times a day.” 79 Of the teens
 6     aged 13 to 17 surveyed across all 50 states by the Boston Children’s Digital Wellness lab in 2022,
 7     64% reported that they use TikTok daily. 80 As described in Section III infra,

 8                         that such addictive use inflicts great mental and physical harm on young users.

 9           165.       By maximizing the TikTok platform’s addictive properties, TikTok has cultivated

10     a generation of young users who spend hours a day on its platform—more than they would

11     otherwise choose—which is highly detrimental to teens’ development and ability to attend to

12     personal needs and responsibilities.

13           166.       One such harmful effect bears special mention: TikTok’s negative effect on young

14     users’ sleep.

15           167.       Insufficient sleep causes a slew of health problems for minors, including

16     neurological deficiencies, dysregulated emotional functioning, heightened risk of suicide, and

17     many other mental health harms. 81 Excessive, compulsive, and addictive use of TikTok’s

18     platform keeps minors using it late at night and decreases the amount and quality of their sleep.

19           168.                                  as its internal research

20               a.

21

22

23            77
                 See id.
              78
                  See Emily A. Vogels et al., Teens, Social Media, and Technology 2022, PEW RESEARCH
24     CTR. (Aug. 10, 2022), https://www.pewresearch.org/internet/2022/08/10/teens-social-media-and-
       technology-2022.
25             79
                  See id.
               80
                  See DAVID BICKHAM, ET AL., THE DIGITAL WELLNESS LAB’S PULSE SURVEY,
26     ADOLESCENT MEDIA USE: ATTITUDES, EFFECTS, AND ONLINE EXPERIENCES 10 (Aug. 2022).
               81
                  See, e.g., AM. PSYCH. ASS’N, supra note 74; Seung-Schik Yoo et al., A Deficit in the
27     Ability to Form New Human Memories Without Sleep, 10 NATURE NEUROSCIENCE 385 (2007);
       see also MORENO & JOLLIFF, supra note 74; Sampasa-Kanyinga, supra note 74; Simon & Walker,
28     supra note 74; van der Helm, supra note 74.
                                                           40
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 1                 b.
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 4                 c.
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 7                 d.

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 9           169.                            use of the platform impairs young users’ sleep,

10                                                                                      which TikTok’s

11     internal documents

12           170.

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15           171.       Young people are particularly attuned to FOMO, and often feel a need to check

16     social media at night to assuage the fear that they may miss out on popular or engaging videos. To

17     that end, some teenagers frequently wake up at night to check social media notifications. 82

18           172.       Ultimately, TikTok knows that

19

20                                                             Yet to date, TikTok has not made the

21     necessary changes to its platform to avoid these outcomes.

22     III. TIKTOK KNOWS ITS FEATURES HARM YOUNG USERS BUT REFUSES TO MAKE THE
            PLATFORM SAFER, DESPITE INTERNAL RECOMMENDATIONS.
23
             173.                               the platform harms mental health and
24
                                                        . But those safety improvements have been
25
       stymied by TikTok’s leadership’s pursuit of profits. For example:
26

27            82
                 See Anushree Tandron et al., Sleepless Due to Social Media? Investigating Problematic
       Sleep Due to Social Media and Social Media Sleep Hygiene, 113 COMPUTERS IN HUM. BEHAV. 1,
28     7 (2020).
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 1               a. A comment on one internal document notes that
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 6               b. One internal strategy document suggested
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 9               c. TikTok knows that children use the platform at night, causing sleeplessness.

10                   However, TikTok’s own former global head of minor safety

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13                                     .

14               d. TikTok employees have gone so far as to admit on video that teens are ideal to target

15                   as users when beginning a social media company; that

16                                                         ; that

17                                                            ; and that

18                        .

19          174.      TikTok’s business model has been extremely profitable. In 2019, TikTok’s

20     revenue was              . By 2022, it was over              .

21
            A.     TikTok                                               to enhance user safety and
22                 reduce compulsive use.

23          175.      In 2022, a subset of TikTok employees

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 9          176.     However, even though a non-personalized feed could have reduced many of the

10     harms the recommendation system wreaks on minors by reducing compulsive use of the platform,

11     TikTok CEO Shou Chew

12

13          177.     TikTok also considered but failed to implement other alternate design features

14     related to screentime management and anti-addiction measures intended to help curb its users’

15     compulsive use of the platform. For example:

16              a. TikTok decided

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18

19

20              b. Notwithstanding TikTok’s

21

22                                it took years for the company to roll out a feature allowing users to

23                 mute notifications. TikTok delayed making this easy fix

24

25                       . Even when TikTok finally implemented this feature, it did so in a

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 1                      substantially weakened form, by requiring minors to affirmatively opt into some
 2                      aspects of the feature—                                    . 83
 3                  c. TikTok continues to reject options that would help young users. Although internal
 4                      documents note that
 5

 6                                                                                        TikTok still refuses to
 7                      impose meaningful restrictions.

 8                  d. TikTok represents that it set a 60-minute default screentime limit for users under the

 9                      age of 18. However, TikTok’s “limit” is not a hard stop, but rather is merely an

10                      easily avoidable checkpoint because young users can disable the screen or enter a

11                      passcode. 84 TikTok knows that its addictive features work to override young users’

12                      free choice to regulate their time such that these options are rendered unreasonable,

13                      unrealistic, and ineffective.

14           178.        By contrast, TikTok’s sister platform Douyin, which is available only in China,

15     imposes effective minor safety restrictions, including limiting some minors to 40 minutes of use

16     per day and limiting the platform’s availability to certain hours. 85 To prevent overuse and

17     addiction, Douyin users also may face a five-second pause between videos if they spend too long

18     on the app. 86

19

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21             83
                   See Notifications, TIKTOK, https://support.tiktok.com/en/using-tiktok/messaging-and-
       notifications/notifications [https://web.archive.org/web/20240920164804/https://support.
22     tiktok.com/en/using-tiktok/messaging-and-notifications/notifications].
                84
                   See Rachel Lerman, TikTok Adds 60-Minute Limit for Teens But Leaves Easy
23     Workarounds, WASH. POST (Mar. 1, 2023), [https://web.archive.org/web/20240924175950/
       https://www.washingtonpost.com/technology/2023/03/01/tiktok-time-limit-teens/]; Sadia Israr,
24     How to Turn Off TikTok Screen Time Without Password, LOGMEONC (May 31, 2024)
       https://logmeonce.com/resources/how-to-turn-off-tiktok-screen-time-without-password/.
25              85
                   See Diksha Madhok, The Chinese version of TikTok is limiting kids to 40 minutes a day,
       CNN (Sept. 20, 2021), https://www.cnn.com/2021/09/20/tech/china-tiktok-douyin-usage-limit-
26     intl-hnk/index.html [https://web.archive.org/web/20240924181256/https://www.cnn.com/
       2021/09/20/tech/china-tiktok-douyin-usage-limit-intl-hnk/index.html].
27              86
                   See Matthew Humphries, China’s TikTok Adds Mandatory 5-second Pause Between
       Videos, PCMAG (Oct. 22, 2021), https://www.pcmag.com/news/chinas-tiktok-adds-mandatory-5-
28     second-pause-between-videos.
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 1           179.      TikTok’s internal documents           that
 2

 3                        but, as indicated above, TikTok has chosen not to implement the same safety
 4     measures for young Americans.
 5           180.      To that end, TikTok’s former Global Head of Minor Safety said
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10           181.      Ultimately, TikTok chose not to utilize Douyin’s sensible minor safety restrictions

11     on the TikTok platform and thus failed to protect young users in the United States. 87

12     IV.   TIKTOK’S SCHEME OF PURPORTED SAFETY FEATURES AND TOOLS, CONTENT
             MODERATION, COMMUNITY GUIDELINES AND PUBLIC ASSURANCES MISLEADS THE
13           PUBLIC ABOUT ITS PLATFORM AND PLATFORM’S DANGERS.

14           182.      TikTok engages in a fraudulent and deceptive scheme that misleads the public that

15     the platform is safe and appropriate for young users through multiple avenues. TikTok’s scheme

16     deceptively conveys an appearance of safety through numerous features and tools advertised to

17     promote young users’ wellbeing, by claiming to subject the platform to Community Guidelines

18     and meaningful content moderation, by minimizing the extent to which the platform is designed

19     to induce addictive and compulsive use, by holding out safety as a priority for TikTok and

20     representing the platform as safe. While each of these avenues is individually fraudulent and

21     deceptive, they are also all part of a coordinated scheme TikTok employs to create a deceptive

22     and false narrative about its platform and young users’ safety.

23           183.      But TikTok knows the truth: its touted features do not work as advertised, its

24     community guidelines are not applied as TikTok advertises, its platform is poorly moderated,

25     designed to induce compulsive use and is unsafe for youth.

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28            87
                   See Madhok, supra note 85.
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 1           A.     TikTok deceives the public about the efficacy of numerous features and
                    tools that it advertises as promoting safety and well-being.
 2

 3           184.        TikTok deceives the public about its purported “safety features” and other tools it

 4     provides on the TikTok platform under the guise of promoting user safety and well-being. In

 5     truth, these features and tools do not work as advertised, and were designed to appear to mitigate

 6     certain harms without making meaningful changes.

 7                  1.      TikTok’s claimed 60-minute limit is not a limit.

 8           185.        Announced right before Shou Chew testified to Congress, TikTok has repeatedly
 9     pushed the idea that it sets an automatic 60-minute daily screentime limit for teens.
10           186.        In a March 1, 2023 post on its website, former Head of Trust and Safety Cormac

11     Keenan wrote that the screentime management tool would provide teen users with a “60-minute

12     daily screen time limit.” 88 But this tool does not actually impose a screen time limit: after using

13     TikTok for 60 minutes, teens are simply prompted to enter a passcode that they have previously

14     created in order to continue watching. Young users can also freely change when this prompt

15     occurs, with default options ranging from after 40 minutes to 2 hours on TikTok per day, or

16     disable the tool entirely.

17           187.        Research shows that the more time teens spend beyond their first hour on social

18     media each day is directly connected to worsening mental health.

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24           188.

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               88
                 See Cormac Keenan, New Features for Teens and Families on TikTok, TIKTOK (Mar. 1,
27     2023), https://newsroom.tiktok.com/en-gb/tiktok-teen-screen-time-family-pairing
       [https://web.archive.org/web/20240929190635/https://newsroom.tiktok.com/en-gb/tiktok-teen-
28     screen-time-family-pairing].
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 8           189.     TikTok’s default “time limit” proved to have negligible impact.

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12           190.     As public concern grew that TikTok is addictive and unsafe for teens, it was

13     important for TikTok to convince parents that those concerns were being addressed. Therefore,

14     after releasing the 60-minute-prompt tool, TikTok prominently advertised it to the public—but

15     actively concealed how the tool actually works. For example, one advertisement in the

16     Washington Examiner, a news magazine more likely to be read by adults than teens, stated only

17     that “[t]een accounts automatically have a daily screen time limit of 60 mins. Only on TikTok.”

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27           191.     What TikTok concealed is that the screen time limit can be easily bypassed or

28     even disabled. TikTok made similar or identical public representations in other contexts,
                                                       47
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 1     including January 2024 advertisements for The Washington Post reading “[t]een accounts
 2     automatically have a daily screen time limit of 60 mins.” These advertisements leave the public—
 3     especially parents who do not use the platform more than an hour per day—with a false
 4     impression that this tool imposes an actual limit on teen screen time, creating a false belief that
 5     TikTok effectively addressed concerns around excessive use.
 6                  2.     TikTok’s screentime management tools do not protect young users.

 7           192.        TikTok promoted its screentime dashboard as a tool to help minors in press
 8     releases posted to its website in 2019 and 2020, external newsletters, such as its June 2022

 9     Creator Newsletter, and posts on TikTok’s website.

10           193.        TikTok also promotes its screentime management tools to parents and guardians

11     through partnership with the National PTA and in press releases on its website. 89 For instance, in

12     February 2020, TikTok published an article on its website entitled “Introducing Family Safety

13     Mode and Screentime Management in Feed,” writing: “As part of our commitment to safety, the

14     wellbeing of our users is incredibly important to us. We want people to have fun on TikTok, but

15     it’s also important for our community to look after their wellbeing which means having a healthy

16     relationship with online apps and services.” 90

17           194.        In his publicly available written testimony to Congress in March 2023, Shou Chew

18     stated: “TikTok also has taken numerous steps to help ensure that teens under 18 have a safe and

19     enjoyable experience on the app. . . . We launch great products with a safety-by-design mentality,

20     even if those features limit our monetization opportunities.” 91

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              89
                   See Jordan Furlong, Investing in Our Community’s Digital Well-Being, TIKTOK (June 9,
24     2022), https://newsroom.tiktok.com/en-us/investing-in-our-communitys-digital-well-being
       [https://web.archive.org/web/20230929035347/https://newsroom.tiktok.com/en-us/investing-in-
25     our-communitys-digital-well-being].
                90
                   See Cormac Keenan, Introducing Family Safety Mode and Screentime Management in
26     Feed, TIKTOK (February 19, 2020), https://newsroom.tiktok.com/en-gb/family-safety-mode-and-
       screentime-management-in-feed [https://web.archive.org/web/20200221014953/https://
27     newsroom.tiktok.com/en-gb/family-safety-mode-and-screentime-management-in-feed/]
                91
                   See Written Testimony of Shou Chew Before the U.S. House Comm. on Energy &
28     Commerce, (March 23, 2023) (hereinafter “Chew Written Testimony”).
                                                         48
                                                         Complaint for Injunctive and Other Relief [Public-Redacted]
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 1           195.    While TikTok publicizes its safety features ostensibly intended to reduce
 2     compulsive use, internal analyses show that
 3

 4           196.    Rather,
 5                                   . In other words,
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 7                                                                       More specifically, according to an

 8     internal                    document

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11           197.    Similarly, in a chat message

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16           198.    TikTok also promotes screentime management tools for minors that it knows are

17     ineffective. For example,

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20           199.              TikTok found

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 1           200.     TikTok also
 2

 3                                                   Similarly, TikTok
 4

 5           201.     TikTok also touts its “Take a Break” videos that ostensibly encourage young users
 6     to stop using the TikTok platform after long sessions. TikTok CEO Shou Chew even referenced
 7     the videos in an interview with Andrew Ross Sorkin of the The New York Times at the 2022

 8     DealBook summit.

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11           202.     Another feature that TikTok heavily promotes to parents and parent groups is

12     Family Pairing, 92 which, according to TikTok, “allows parents and teens to customize their safety

13     settings based on individual needs.” 93 Yet TikTok knows the feature does not fix the problems its

14     platform causes. As an internal document notes,

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                                                         94
17                                                            Moreover, teens can easily bypass Family

18     Pairing. The function works only on TikTok’s mobile application, so teens can avoid parent-

19     imposed restrictions simply by using their phone or desktop web browser. 95

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22            92
                   See TikTok Guide For Parents, NATIONAL PTA, https://www.pta.org//docs//default-
       source//files//programs//pta-connected//tiktok-toolkit-2019-2020//tiktok-guide-for-parents-
23     revised.pdf, [https://web.archive.org/web/20240925175118/https://www.pta.org//docs//default-
       source//files//programs//pta-connected//tiktok-toolkit-2019-2020//tiktok-guide-for-parents-
24     revised.pdf]; Jeff Collins, TikTok Introduces Family Pairing, TIKTOK (Apr. 15, 2020),
       [https://web.archive.org/web/20240425180753/newsroom.tiktok.com/en-us/tiktok-introduces-
25     family-pairing]; Chew Written Testimony, supra note 91.
                93
                   See User Safety, TIKTOK, [https://web.archive.org/web/20240528043614/
26     support.tiktok.com/en/safety-hc/account-and-user-safety/user-safety#4].
                94
                   See also Jacob Kastrenakes, TikTok Now Lets Parents Set Restrictions on Their Kids'
27     Accounts, THE VERGE (April 16, 2020), https://www.theverge.com/2020/4/16/21222817/tiktok-
       family-pairing-linked-accounts.
28              95
                   See User Safety, supra note 93.
                                                       50
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 1           203.        Not only are these screentime management features ineffective, but TikTok also
 2     makes them hard to find. Many of the features are hidden behind multiple screens, reducing their
 3     use and effectiveness. Internal documents
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 7           204.        TikTok unfairly compounded the addictiveness of the TikTok platform for young

 8     users through their faulty and deceptive implementation of these features. TikTok touts these time

 9     management and other safety tools as if they are legitimate interventions designed to promote

10     young users’ healthy usage of the platform. In fact, and what TikTok conceals, is that these

11     features and tools are ineffective.

12                  3.     TikTok falsely represents users’ ability to “Refresh” their feed and
                           escape harmful rabbit holes.
13

14           205.        A TikTok user experiences a “rabbit hole” (also known as a “filter bubble”) when

15     they encounter a high percentage of sequential videos on the same or similar topics. TikTok

16     knows that rabbit holes harm their young users—particularly when these rabbit holes feed young

17     users videos that trigger anxiety or depression or provoke other harmful effects (for example, by

18     feeding users videos that trigger FOMO, harmful social comparison, self-harm, or disordered

19     eating).

20           206.        The recommendation system creates rabbit holes by quickly evaluating users’

21     interests and then repeatedly pushing videos about those interests regardless of content. The Wall

22     Street Journal published a chart showing just how quickly the recommendation system learns a

23     user’s interest and then pushes content related to that interest: 96

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               96
                 See Tawnell D. Hobbs et al., ‘The Corpse Bride Diet’: How TikTok Inundates
27     Teens With Eating-Disorder Videos, WALL STREET J. (Dec. 17, 2021),
       https://www.wsj.com/articles/how-tiktok-inundates-teens-with-eating-disorder-videos-
28     11639754848.
                                                          51
                                                         Complaint for Injunctive and Other Relief [Public-Redacted]
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14           207.     In internal documents,

15                                      .

16           208.     Even rabbit holes that could be innocuous to some can be harmful to specific

17     individuals. One internal document

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22           209.     After The Wall Street Journal exposé on TikTok’s algorithm and the harm caused
23     to users stuck in rabbit holes, TikTok made changes to its platform that it calls “Algo Refresh.”
24           210.     The Algo Refresh feature purportedly allows users suffering from rabbit holes—or
25     who are otherwise dissatisfied with the videos TikTok feeds them—to “reset” their For You feed.
26     According to an internal             document,
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 1           211.     After much           and external pressure, on March 16, 2023, TikTok announced
 2     the new “Refresh your For You feed” feature. 97
 3           212.
 4

 5           213.     TikTok billed the Refresh feature as “[t]he option to start fresh on TikTok.” 98
 6           214.     It further explained that: “When enabled, this feature allows someone to view
 7     content on their For You feed as if they just signed up for TikTok. Our recommendation system

 8     will then begin to surface more content based on new interactions.” 99

 9           215.     TikTok makes similar statements to users who access the Refresh feature on the

10     TikTok platform. When users open the “Refresh your For You feed” page in the platform’s

11     settings, they are asked: “Want a fresh start?” The platform informs users that activating the

12     Refresh feature will allow them to “launch your new feed.” 100

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              97
                  Sandeep Grover & Mabel Wang, Introducing a Way to Refresh Your For You Feed on
24     TikTok, TIKTOK (Mar. 16, 2023), https://newsroom.tiktok.com/en-us/introducing-a-way-to-
       refresh-your-for-you-feed-on-tiktok-us [https://web.archive.org/web/20240430163405/
25     https://newsroom.tiktok.com/en-us/introducing-a-way-to-refresh-your-for-you-feed-on-tiktok-us].
               98
                  See id.
26             99
                  Id.
               100
                   See Video, TIKTOK, https://p16-va-tiktok.ibyteimg.com/obj/musically-maliva-
27     obj/0a66a83d69c5ba153546bb9b8fd0efbc.gif [https://web.archive.org/web/20240927210731/
       https://p16-va-tiktok.ibyteimg.com/obj/musically-maliva-obj/0a66a83d69c5ba
28     153546bb9b8fd0efbc.gif] (hereinafter “Refresh Video”).
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 1           216.     Spokespeople for TikTok repeated these claims to reporters. For instance, the news
 2     outlet TechCrunch reported in February 2023:
 3           With the new refresh button, which will be available in account settings, users will be
             able to force the app to bring “new, diversified content not based on previous activity
 4           or interactions” to their For You feed. After hitting the button, users will then begin to
             see content that’s based on their new interactions, a TikTok spokesperson told
 5           TechCrunch. In addition to providing a refreshed feed, the company noted that the
             feature could serve as a way to support potentially vulnerable users who want to
 6           distance themselves from their current content experience. 101

 7           217.     These public statements mislead the public to believe that resetting the For You

 8     feed would result in a completely new feed, as if the user was a new user, and that users would be

 9     able to escape rabbit holes of harmful content.

10           218.     However, the Refresh feature was never                              . First, this feature is

11     hidden behind a complex series of settings.

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17           219.     Not only did TikTok design the Refresh feature not to be used, but it did not even

18     make the feature work.

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              101
                  See Sarah Perez, TikTok Introduces a Strike System for Violations, Tests a Feature to
27     ‘Refresh’ the For You Feed, TECHCRUNCH (Feb. 2, 2023), https://techcrunch.com/2023/02/02/
       tiktok-introduces-a-strike-system-for-violations-tests-a-feature-to-refresh-the-for-you-
28     feed/?guccounter=1.
                                                         54
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 1           220.         For young users previously stuck in rabbit holes, the recommendation system
 2     quickly reintroduces videos based on the same engagement data that led them into the rabbit hole
 3     in the first place.
 4           221.         The Refresh feature also fails to reset presentation of personalized ads.
 5

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 8           222.         TikTok misled some users

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12           223.         Contrary to TikTok’s misleading representations, young users may find that they

13     are quickly back in the same rabbit hole again even after using the Refresh feature.

14                   4.      TikTok deceives the public about Restricted Mode’s ability to filter
                             inappropriate content for young users.
15

16           224.         TikTok misleads the public about the efficacy of “Restricted Mode,” which

17     TikTok publicly described in an October 2019 post to its Newsroom as “an option that limits the

18     appearance of content that may not be appropriate for all audiences.” 102

19           225.         TikTok advised parents to enable this tool for their teens: “Note: If you’re a parent

20     and your teen uses TikTok, it might make sense to enable this setting to ensure the content they

21     are viewing is age-appropriate.” 103

22           226.         On its website, TikTok says that young users in Restricted Mode “shouldn’t see

23     mature or complex themes, such as: [p]rofanity[, s]exually suggestive content[, r]ealistic violence

24
               102
                   TikTok’s Top 10 Tips for Parents, TIKTOK (Oct. 16, 2019), https://newsroom.
25     tiktok.com/en-us/tiktoks-top-10-tips-for-parents [https://web.archive.org/web/
       20240927211131/https://newsroom.tiktok.com/en-us/tiktoks-top-10-tips-for-parents].
26             103
                   Limiting Unwanted Content, TIKTOK (Apr. 25, 2019), https://newsroom.tiktok.com/en-
       us/limiting-unwanted-content [https://web.archive.org/web/20231129050315/https://newsroom.
27     tiktok.com/en-us/limiting-unwanted-content]; see also TikTok’s Top 10 Tips for Parents, supra
       note 102 (listing “enabling Restricted Mode” as a tip for parents and describing Restricted Mode
28     as “an option that limits the appearance of content that may not be appropriate for all audiences”).
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 1     or threatening imagery[, f]irearms or weapons in an environment that isn’t appropriate[, i]llegal or
 2     controlled substances/drugs[, and e]xplicit references to mature or complex themes that may
 3     reflect personal experiences or real-world events that are intended for older audiences.”
 4           227.     TikTok advertised the platform’s Restricted Mode as an “‘appropriate’
 5     experience” to “family-oriented partners,” such as the National Parent Teacher Association and
 6     Family Online Safety Institute.
 7           228.     TikTok promoted this feature to its partners to achieve increased publicity of its

 8     deceptive claims. In TikTok’s estimation,

 9                                                                                —an understanding that was

10     then reflected in several “media stories.” 104

11           229.     Yet TikTok knew that Restricted Mode did not function in the manner TikTok

12     represented and instead only filtered very limited categories of potentially objectionable content.

13           230.     Indeed, nearly two years after TikTok began making these misrepresentations on

14     its website, TikTok’s Global Head of Minor Safety told TikTok’s U.S. Safety Head that

15     “

16                           ”

17           231.     An internal                               found that

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22            104
                   See also TikTok’s ‘Family Safety Mode’ Gives Parents Some App Control, BBC (Feb.
       19, 2020), https://www.bbc.com/news/technology-51561050 (Restricted Mode “tries to filter out
23     inappropriate content” and “tries to hide content that may be inappropriate.”); Parents’ Ultimate
       Guide to TikTok, COMMON SENSE MEDIA (Apr. 26, 2024),
24     https://www.commonsensemedia.org/articles/parents-ultimate-guide-to-tiktok (Restricted Mode
       “blocks mature content.”); Brandy Shaul, TikTok: Here’s How to Turn on Restricted Mode,
25     ADWEEK (Mar. 21, 2019), https://www.adweek.com/performance-marketing/tiktok-heres-how-
       to-turn-on-restricted-mode/ (Restricted Mode “automatically filters content that may not be
26     appropriate for minors.”); TikTok Parental Control Settings, INTERNET MATTERS,
       https://www.internetmatters.org/parental-controls/social-media/tiktok-privacy-and-safety-
27     settings/ [https://web.archive.org/web/20240927212409/https://www.internet
       matters.org/parental-controls/social-media/tiktok-privacy-and-safety-settings/] (“Restricted mode
28     “can help limit the appearance of content that may not be suitable for underage users.”).
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 3           232.
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 5           233.        Moreover, Restricted Mode encompasses only the For You feed. A young user can
 6     easily circumvent the feature by, for example, watching videos that they search for, are sent
 7     directly to them, or uploaded by accounts they follow.

 8
                    5.      TikTok deceives the public about its beauty filters and the dangers to
 9                          young users they present.

10           234.        As of March 2024, TikTok had an entire webpage devoted to “Youth Safety and

11     Well-Being” where it claims the company is “deeply committed to ensuring TikTok is a safe and

12     positive experience for people under the age of 18.” 105 It goes on to proclaim that youth safety is

13     a “priority,” and that TikTok creates a “developmentally appropriate” experience that is a “safe

14     space” for “self-exploration.” 106

15           235.        As it makes such representations TikTok misleads the public that its wildly

16     popular beauty filters and similar features on its platform do not pose dangers, especially to

17     young users.

18           236.        TikTok promotes its beauty filters, other beautifying Effects, and Effects that rate

19     physical attractiveness, while actively concealing the significant physical and psychological risks

20     to young users that such filters and Effects pose.

21           237.

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27            105
                   Youth Safety and Well Being, TIKTOK, [https://web.archive.org/web/20240509043157/
       https://www.tiktok.com/community-guidelines/en/youth-safety?cgversion=2023].
28             106
                   Id.
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 3                TikTok did not implement any of these suggestions.
 4           238.        Moreover, as described above in paragraph 146, TikTok misled users by
 5                                                                                                .
 6           B.        TikTok misleads the public about the extent of its content moderation
                       enforcement.
 7

 8           239.        Although TikTok boasts thorough content review processes and a platform
 9     appropriate for young users, this misleads the public. Internally, TikTok notes that

10

11

12           240.        TikTok does not publicly disclose significant “leakage” rates, which measure the

13     percentage of violative content that is not moderated or removed. Internally, TikTok knows the

14     rate at which certain categories of content leak through its moderation processes, such as:

15

16

17                                                                                          In reality, a much

18     larger volume of violative content remains on the platform than TikTok leads the public to

19     believe.

20           241.        TikTok has also misled the public that content moderation policies have been

21     applied across the platform. To the contrary, TikTok’s content moderation policies have

22

23

24                                                                                     . Such statements are

25     misleading and prevent the public from making informed choices regarding use, or children’s use,

26     of the TikTok platform, while also exposing youth to harmful harassment, bullying, and

27     solicitation.

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 1           242.        TikTok has also misled the public as to the diligence of its content moderation. To
 2     reassure the public of its commitment to content moderation, TikTok has published metrics such
 3     as the “proactive removal” rate. However, this metric simply captures how fast TikTok removes
 4     content that it manages to catch, not how much content it manages to catch overall.
 5           243.        TikTok’s assurances mislead the public, particularly parents and youth, that its
 6     content moderation is increasingly effective, while its knows much of the platform has not been
 7     meaningfully moderated.

 8
             C.     TikTok deceives the public about the application and enforcement of its
 9                  Community Guidelines.

10           244.        TikTok misrepresents the application and enforcement of its “Community

11     Guidelines.” Specifically, TikTok misrepresents how effectively the Guidelines are applied, to

12     whom and what they apply, and the role of experts in forming the Community Guidelines.

13
                    1.      TikTok deceives the public about how effectively Community
14                          Guidelines are applied.

15           245.        In its Community Guidelines, as recently as April 30, 2024, TikTok claimed that it

16     “[r]emove[s] violative content from the platform that breaks our rules.” 107 TikTok’s Community

17     Guidelines set out a number of rules as to different types of topics, including not allowing any

18     “violent threats, incitement to violence, or promotion of criminal activities that may harm people,

19     animals, or property,” “hateful behavior, hate speech, or promotion of hateful ideologies,” “youth

20     exploitation and abuse,” “showing, promoting, or sharing plans for suicide or self-harm,”

21     “showing or promoting disordered eating or any dangerous weight loss behaviors,” and “showing

22     or promoting dangerous activities and challenges,” among other rules.

23           246.        TikTok has long made and continues to make statements to this effect, including

24     when speaking to reporters, parents, and government regulators.

25

26

27
              107
                See Community Guidelines, TIKTOK (May 17, 2024), [https://web.archive.org/web/
28     20240430123749/https://www.tiktok.com/community-guidelines/en/?cgversion=2023].
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                                                         Complaint for Injunctive and Other Relief [Public-Redacted]
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 1           247.     For instance, the public and TikTok users heard Shou Chew testify to Congress on
 2     March 23, 2023, that “anything that is violative and harmful we remove [from the platform].” 108
 3     The public again heard Chew testify to Congress on January 31, 2024, and claim that TikTok’s
 4     “robust Community Guidelines strictly prohibit content or behavior that puts teenagers at risk of
 5     exploitation or other harm -- and we vigorously enforce them.” 109 TikTok repeated that latter
 6     statement on its Newsroom website. 110
 7           248.     TikTok uses the comprehensiveness of its Community Guidelines to reassure

 8     parents and others that its platform is a safe product for young users. TikTok represents that its

 9     Community Guidelines “apply to everyone and everything on our platform.” 111

10           249.     In a Ted Talk in April 2023, Shou Chew explained that TikTok has “very clear

11     community guidelines. We are very transparent about what is allowed and what is not allowed on

12     our platform. No executives make any ad hoc decisions. And based on that, we have built a team

13     that is tens of thousands of people plus machines in order to identify content that is bad and

14     actively and proactively remove it from the platform.” 112

15           250.     But these representations are misleading. TikTok’s actual internal policies and

16     practices have long differed substantially from its Community Guidelines and other public

17     statements, with respect to how TikTok handles both user-generated content and advertisements

18     on the platform.

19
              108
                  See Chew Written Testimony, supra note 91, at 42.
20            109
                     See Senate Hearing with CEOs of Meta, TikTok, X, Snap and Discord About Child
       Safety 1/31/24 Transcript, REV (Feb. 1, 2024), https://www.rev.com/blog/transcripts/senate-
21     hearing-with-ceos-of-meta-tiktok-x-snap-and-discord-about-child-safety-1-31-24-transcript; Clare
       Duffy, et al., Mark Zuckerberg Apologizes to Families Over Social Media Harms in Contentious
22     Senate Hearing, CNN (Jan. 31, 2024), https://www.cnn.com/tech/live-news/meta-x-discord-
       tiktok-snap-chiefs-testify-senate/index.html.
23              110
                     See TikTok CEO Shou Chew’s Opening Statement – Senate Judiciary Committee
       Hearing on Online Child Sexual Exploitation Crisis – January 31, 2024, TIKTOK (Jan. 31, 2024),
24     [https://web.archive.org/web/20240510085428/https:// newsroom.tiktok.com/en-us/opening-
       statement-senate-judiciary-committee-hearing] (hereinafter “Chew Opening Statement”).
25              111
                    See Community Guidelines, supra note 107.
                112
                     TikTok's CEO on Its Future — and What Makes Its Algorithm Different, at 15:20, TED
26     (April 2023), https://www.ted.com/talks/shou_chew_tiktok_s_ceo_on_its_future_and_what_
       makes_its_algorithm_different?hasSummary=true&subtitle=en [https://web.archive.org/
27     web/20240924182721/https:/www.ted.com/talks/shou_chew_tiktok_s_ceo_on_its_future_and_w
       hat_makes_its_algorithm_different?hassummary=true&subtitle=en] (hereinafter “Chew Ted
28     Talk”).
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 1           251.     Even though TikTok’s Community Guidelines claim that content about seductive
 2     performances by minors, drugs, gore, and physically dangerous behavior is removed or not
 3     allowed under its terms of service, in many circumstances TikTok permits such content to remain
 4     on the platform. Instead of actually removing harmful content from the platform, as it claims it
 5     does, TikTok often simply moves certain videos out of users’ For You feed.
 6

 7

 8                      .

 9           252.     When content is “                       ” or made “              ” (or the like), it

10     remains visible and available on the platform.

11           253.     For example, TikTok’s Community Guidelines claim that “content by young

12     people”—meaning minors—“that intends to be sexually suggestive” is prohibited on the

13     platform. Per the Guidelines, “[t]his includes intimate kissing, 113 sexualized framing, 114 or

14     sexualized behavior.” 115 TikTok does not actually enforce this provision or similar prior

15     provisions of the Community Guidelines. Rather, videos “

16

17                                                                                                       ” are not

18     prohibited on the platform in the United States. Instead, such a video is merely “

19                    ” A training document

20

21                                                            Despite TikTok’s statements that its

22     Community Guidelines help protect younger users,

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24
              113
                   “Intimate kissing” is defined in the Community Guidelines as “kissing that may
25     indicate sexual arousal or the beginning of a sexual interaction.”
               114
                   “Sexualized framing” is defined in the Community Guidelines as “content that
26     intentionally emphasizes clothed intimate body parts through techniques, such as filming, editing,
       or positioning of the body in front of the camera.”
27             115
                   “Sexualized behavior” is defined in the Community Guidelines as “behavior that is
       intended to be sexually arousing, including performances or repetitive body movements
28     emphasizing intimate body parts, and imitating sexual acts.”
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 1           254.       Similarly, instead of removing “[d]angerous weight-loss behavior” videos—such
 2     as videos that promote laxatives to lose weight and videos that promote losing more than 10
 3     pounds of weight in a week through diet or exercise routines—from the platform, as stated in the
 4     Community Guidelines, TikTok merely internally labels the videos “                              ” While
 5     this designation prevents the videos from appearing in users’ For You feeds, they remain visible
 6     to and searchable by minors.
 7

 8                  :

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14           255.       TikTok engaged in similar conduct for other types of videos as well. For example,
15     the Community Guidelines claim that TikTok “do[es] not allow the trade of alcohol, tobacco

16     products, and or [sic] drugs” and “do[es] not allow showing, possessing, or using drugs.” 116 The

17     Community Guidelines further disallow “[m]arketing tobacco products, drugs, or other regulated

18     substances” and “[s]howing, possessing, or using drugs or other regulated substances

19     recreationally, including signs of being under the influence.”

20           256.       Yet contrary to this representation and prior similar representations, videos that

21     feature illegal drugs remain on TikTok’s platform. Videos promoting drugs by

22

23              ” were also left on the platform.

24

25

26

27            116
                  See Regulated Goods and Commercial Activities, Community Guidelines, TIKTOK,
       [https://web.archive.org/web/20240924222840/https://www.tiktok.com/community-
28     guidelines/en/regulated-commercial-activities] (emphasis added).
                                                          62
                                                         Complaint for Injunctive and Other Relief [Public-Redacted]
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 1           257.     In some instances, TikTok’s Community Guidelines had policies that were never
 2     enforced at all. For instance, a previous version of the Community Guidelines prohibited content
 3     that “depicts or promotes the misuse of legal substances . . . in an effort to become intoxicated[.]”
 4     But until August 2022, moderators were not told to remove such content, and it therefore
 5     remained on the platform.
 6           258.     Similarly, TikTok’s Community Guidelines expressly prohibit content “[s]howing
 7     or promoting” “[d]angerous driving behavior, such as exceeding the speed limit, running a red

 8     light, or distracted driving (including live streaming while driving).” 117 Despite that

 9     representation and prior, similar representations, TikTok’s internal policy was clear: “

10                                                 ” Again, TikTok merely removed that content from

11     individual users’ For You feeds and personalized push notifications.

12           259.     TikTok also failed to remove gore, even though its current Community Guidelines

13     state: “We do not allow gory, gruesome, disturbing, or extremely violent content.” 118 Gore, like

14     drugs and dangerous driving, remains available on the platform, even if moved off the individual

15     user’s For You feed.

16           260.     This pattern applies to other parts of the platform too. For instance, as of April 30,

17     2024, the Community Guidelines claimed that “[o]ur guidelines listed above also apply to

18     comments and messages.” 119 But direct messages have an even less restrictive set of rules.

19           261.     In another instance, as discussed above, the Community Guidelines claimed that

20     the platform prohibits “content by young people that intends to be sexually suggestive.” 120 Videos

21
              117
                    Mental and Behavioral Health, Community Guidelines, TIKTOK,
22     [https://web.archive.org./web/20240924222917/https://www.tiktok.com/community-
       guidelines/mental-behavioral-health] [under “More Information” within the “Dangerous
23     Activities and Challenges” subsection].
                118
                    Sensitive and Mature Themes, Community Guidelines, TIKTOK,
24     https://www.tiktok.com/community-guidelines/en/sensitive-mature-themes#4
       [https://web.archive.org/web/20241002184204/https://www.tiktok.com/community-
25     guidelines/en/sensitive-mature-themes#4] [under “Shocking and Graphic Content”]
                119
                    See Accounts and Features, Community Guidelines,
26     [https://web.archive.org/web/20240430123749/https://www.tiktok.com/community-
       guidelines/en/accounts-features/?cgversion=2023%5D].
27              120
                    Sensitive and Mature Themes, Community Guidelines, TIKTOK,
       [https://web.archive.org/web/20240917223538/https://www.tiktok.com/community-
28     guidelines/en/sensitive-mature-themes].
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                                                        Complaint for Injunctive and Other Relief [Public-Redacted]
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 1     of those performances are not recommended in the For You feed, but TikTok does not prohibit or
 2     in any way reduce the visibility of such videos when they are sent via direct message. Similarly,
 3     content showing minors possessing or using drugs, alcohol, and tobacco are forbidden under the
 4     Community Guidelines.121 But that rule is not enforced for direct messages.
 5           262.        Although TikTok touts its moderators, internally it knows that much of its
 6     moderation “                  ” and              because TikTok created an ineffective system.
 7                                                                                              For many types of

 8     content,

 9

10

11

12           263.        Even though TikTok did not comply with its own Community Guidelines, it

13     directed employees to announce otherwise. When managing negative fallout after press reported

14     that a child was in the emergency room after attempting a dangerous TikTok challenge,

15

16

17                                                          ”

18                  2.     TikTok misrepresents who is subject to its Community Guidelines.

19           264.        On its website, TikTok states that it applies its Community Guidelines “to

20     everyone and everything on our platform.” 122 That is false and misleading, because contrary to

21     what it represents, TikTok treats some users differently.

22           265.        TikTok permits popular Creators’ violating videos to stay on the platform. One

23     internal analysis                     noted that “

24

25

26            121
                    Regulated Goods and Commercial Activities, Community Guidelines, TIKTOK,
       [https://web.archive.org/web/20240924222840/https://www.tiktok.com/community-
27     guidelines/en/regulated-commercial-activities].
                122
                    Overview, Community Guidelines, TIKTOK, [https://web.archive.org/web/
28     20240924222929/https://www.tiktok.com/community-guidelines/en/overview].
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 1                                                       ” Upon information and belief, after being urged
 2     by creator management teams—which work with popular Creators to produce content for the
 3     platform—TikTok allowed otherwise violative content to remain on its platform.
 4           266.        Even when TikTok’s moderation team wanted to enforce the Community
 5     Guidelines, certain groups of users,
 6

 7

 8           267.        For accounts that TikTok                                 an internal analysis

 9                   found that

10

11           268.        TikTok’s representations that Community Guidelines apply to everyone misleads

12     the public, while also allowing violative content to remain accessible to young users.

13                  3.     TikTok misrepresents its incorporation of expert recommendations
                           related to safety into its Community Guidelines.
14

15           269.        TikTok announces on its website that its Community Guidelines “are informed by

16     international legal frameworks, and industry best practices, including the UN Guiding Principles

17     on Business and Human Rights, the International Bill of Human Rights, the Convention on the

18     Rights of Children, and the Santa Clara Principles,” with “input from our community, safety and

19     public health experts, and our Advisory Councils.” 123 However, TikTok’s conduct contradicts

20     these representations to the public, contradicting expert recommendations related to safety and

21     known to TikTok.

22           270.        For example,

23

24

25

26

27            123
                  Community Principles, Community Guidelines, TIKTOK, [https://web.archive.org/web/
       20240924225324/https://www.tiktok.com/community-guidelines/en/community-
28     principles?cgversion=2024h1update].
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 1           271.      In addition to failing to implement expert recommendations related to safety,
 2     TikTok publicly misstates what experts recommended. For instance, users and the public heard
 3     Shou Chew testify before Congress in March 2023 that TikTok is working with experts to build
 4     policies for content that is “not inherently harmful, like some of the extreme fitness videos about
 5     people running 100 miles” but can become harmful if shown too much. Mr. Chew said that “the
 6     experts are telling us that we should disperse [this content] more, and make sure that they are not
 7     seen too regularly. . . [e]specially by younger users.” 124

 8           272.                                    TikTok knew that

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14           273.      TikTok’s representations mislead the public as to what experts recommended

15     related to safety and how TikTok applies such expert recommendations.

16           D.     TikTok deceives the public about the harmful effects of its platform and
                    TikTok’s prioritization of profit over safety.
17

18           274.      TikTok misrepresents that the company prioritizes safety for young users,

19     including:

20                a. On TikTok’s website, the company represents: “We care deeply about your well-

21                   being and seek to be a source of happiness, enrichment, and belonging. . . . We work

22                   to make sure this occurs in a supportive space that does not negatively impact your

23                   physical or psychological health.” 125

24                b. In the publicly available written testimony to Congress on March 23, 2023, viewed

25                   by TikTok users, CEO Shou Chew, who previously explained that he is “responsible

26
              124
                  Chew Congressional Statement, supra note 12 at 42-43.
27            125
                 See Source: CGs “Mental and Behavioral Health” page (first paragraph) Mental
       Behavioral Health, TIKTOK (Mar. 2023), [https://web.archive.org/web/20230729135436/
28     https://www.tiktok.com/community-guidelines/en/mental-behavioral-health/?cgversion=2023].
                                                          66
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 1                  for all the strategic decisions at TikTok” 126 stated: “Safety and wellness—in
 2                  particular for teens—is a core priority for TikTok.” 127
 3              c. Shou Chew further testified: “[T]here are more than 150 million Americans who
 4                  love our platform, and we know we have a responsibility to protect them, which is
 5                  why I’m making the following commitments to you and to all our users. Number
 6                  one, we will keep safety particularly for teenagers as a top priority for us.” 128
 7              d. In a Ted Talk in April 2023, that had been publicly viewed almost 3 million times by

 8                  May 31, 2024, Shou Chew referred back to his commitments before Congress,

 9                  reiterating his first commitment “that we take safety, especially for teenagers,

10                  extremely seriously, and we will continue to prioritize that.” 129 He went on to say,

11                  “[y]ou know, I believe that [we] need to give our teenage users, and our users in

12                  general, a very safe experience . . . . If they don’t feel safe, we cannot fulfill our

13                  mission. So, it’s all very organic to me as a business to make sure that I do that.” 130

14              e. A major public-relations problem for TikTok was the “Blackout Challenge.” The

15                  media reported that children died after copying a trend on the platform of

16                  suffocating themselves. As recently as April 2022, TikTok maintained an official

17                  media statement in response to the death of a Colorado child and a Pennsylvania

18                  child, stating in part: “At TikTok, we have no higher priority than protecting the

19                  safety of our community, and content that promotes or glorifies dangerous behavior

20                  is strictly prohibited and promptly removed to prevent it from becoming a trend on

21                  our platform.” Many media outlets, such as The Associated Press, NBC, The New

22                  York Post, Newsweek, and People reported this statement attributable to TikTok in

23                  April 2021 and May 2022. 131

24
              126
                  See Celine Kang, Who is Shou Chew, TikTok’s Chief Executive?, N.Y. TIMES (Mar. 23,
25     2023), https://www.nytimes.com/2023/03/23/technology/who-is-shou-chew-tiktok-ceo.html.
              127
                  See Chew Written Testimony, supra note 91.
26            128
                  See id.
              129
                  See Chew Ted Talk, supra note 112.
27            130
                  Id.
              131
                  See, e.g., Chantal Da Silva, Mother Sues TikTok After Daughter Dies Following
28                                                                                        (continued…)
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 1                f. TikTok touts its so-called “safety features” that, ostensibly, render the platform safe.
 2                   For instance, in a March 1, 2023 blog post, TikTok announced a series of features
 3                   that allegedly increased the safety of the platform. The blog post, under the “Safety”
 4                   section of TikTok’s website, claimed that “[t]hese features add to our robust existing
 5                   safety settings for teen accounts.” 132
 6                g. Similarly, in an October 17, 2022 post on the TikTok website, TikTok claimed the
 7                   platform was safe: “We have a vibrant and inspiring community on TikTok, and it’s

 8                   important that our platform remains a safe, supportive, and joyful place for our

 9                   community.” 133

10           275.      While engaging in these and similar misrepresentations, TikTok designed and

11     operates its platform to prioritize user engagement and actively conceals the risks its platform

12     poses to young users.

13           E.     TikTok deceives the public about its efforts to prolong user engagement
                    through compulsive design elements.
14

15           276.      TikTok misleads consumers about the purpose and effect of the compulsive design

16     elements it incorporates into its platform. Leaders at TikTok downplay and deny the impact of the

17

18

19     “Blackout Challenge,” NBC NEWS (May 13, 2022), https://www.nbcnews.com/news/us-
       news/mother-sues-tiktok-daughter-dies-blackout-challenge-rcna28671; Matthew Impelli, TikTok
20     Blackout Choking Challenge Leads to 12-Year-Old Boy Becoming Brain Dead, NEWSWEEK (Mar.
       30, 2021), https://www.newsweek.com/tiktok-blackout-choking-challenge-leads-12-year-old-
21     boy-becoming-brain-dead-1579927; Joshua Rhett Miller, Colorado Boy Left Brain-Dead After
       TikTok “Blackout Challenge” Dies, N.Y. POST (Apr. 14, 2021),
22     https://nypost.com/2021/04/14/colorado-boy-left-brain-dead-after-blackout-challenge-dies/;
       Naledi Ushe, Colorado Boy, 12, Dies 19 Days After Choking Himself in “Blackout Challenge”
23     Found on TikTok, PEOPLE (Apr. 14, 2021), https://people.com/human-interest/colorado-boy-dies-
       after-choking-himself-blackout-challenge-tiktok/; Colorado Boy Dies After Taking Part in
24     “Blackout Challenge,” ASSOCIATED PRESS (Apr. 14, 2021), https://apnews.com/article/aurora-
       obituaries-colorado-denver-c4b2454d5889193d8555c94477aea624.
25             132
                   See Cormac Keenan, New Features for Teens and Families on TikTok, TIKTOK (Mar.
       2023), [https://web.archive.org/web/20230729135436/https://www.tiktok.com/community-
26     guidelines/en/mental-behavioral-health/?cgversion=2023].
               133
                   See Enhancing the LIVE Community Experience with New Features, Updates, and
27     Policies, TIKTOK (Oct. 17, 2022), https://newsroom.tiktok.com/en-us/enhancing-the-live-
       community-experience [https://web.archive.org/web/20231129051101/https://newsroom.
28     tiktok.com/en-us/enhancing-the-live-community-experience].
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 1     platform’s compulsive design elements by emphasizing that the platform provides a positive
 2     experience for users and incorporates time-management tools.
 3           277.     For example, when asked by Congress in October 2021 if TikTok is specifically
 4     designed to keep users engaged as long as possible, the public and TikTok’s users heard TikTok’s
 5     Vice President & Head of Public Policy, Michael Beckerman testify: “We want to make sure that
 6     people are having an entertaining experience, you know like TV or movies, TikTok is meant to be
 7     entertaining. But we do think we have a responsibility, along with parents, to make sure that it’s

 8     being used in a responsible way.” 134

 9           278.     In April 2023 at a Ted Talk conversation, the public heard Shou Chew reiterate

10     that TikTok’s “goal is not to optimize and maximize time spent. It is not.” 135 He further denied

11     that TikTok has a financial incentive to maximize users’ time spent on the platform, stating:

12     “Even if you think about it from a commercial point of view, it is always best when your

13     customers have a very healthy relationship with your product. . . .” 136

14           279.     Such statements mislead the public as to the platform’s inclusion of compulsive

15     design elements through which TikTok targets users’ time and attention. As discussed above,

16     TikTok exploits psychological vulnerabilities to keep young users compulsively using its

17     platform.

18           280.     TikTok executives have touted the platform’s in-app time management tools to

19     counter perceptions that the platform is designed to increase user engagement. At a congressional

20     hearing about prolonged engagement in October 2021, the public and TikTok users heard Mr.

21     Beckerman emphasize, “We have take a break videos, we have time management tools, and

22     family pairing is another tool where parents can help limit the time their teenagers are spending

23     on the app.” 137 Again, at a Ted Talk in April 2023, Shou Chew brought up TikTok’s time

24     management tools and interventions, telling the public: “If you spend too much time on our

25
              134
                 See Senate Commerce Subcommittee Hearing on Consumer Protection at 2:27:50,
26     CSPAN (Oct. 26, 2021), https://www.c-span.org/video/?515533-1/online-protection-children.
             135
                 See Chew Ted Talk, supra note 112.
27           136
                 See id.
             137
                 See Senate Commerce Subcommittee Hearing on Consumer Protection, supra note
28     134.
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 1     platform, we will proactively send you videos to tell you to get off the platform. And depending
 2     on the time of day: If it’s late at night, [the video] will come sooner.” 138 By touting these tools,
 3     TikTok creates the impression that it is effectively managing compulsive use, instead of
 4     encouraging it through TikTok’s design features.
 5           281.       But, as TikTok knows, that impression is not true and is misleading.
 6

 7

 8

 9           282.       TikTok misleads the public, particularly young users and their parents, into

10     thinking that the platform is not designed for compulsive use and has effective tools to mitigate

11     compulsive use, when it does not. In reality, and as discussed above, supra Section II.A.,

12     compulsive use is woven into the very fabric of the app. TikTok’s internal documents show that

13

14     with TikTok’s own statistics showing that

15

16     V.    TIKTOK EXPLOITS CHILDREN’S DATA WITHOUT PARENTAL NOTICE OR CONSENT.

17           283.       Along with targeting youth, TikTok collects, uses and/or discloses children’s
18     information without proper authorization. TikTok has collected and used children’s information
19     with actual knowledge it belonged to children, and has collected, used and disclosed children’s
20     information knowing that the TikTok platform is directed to children. In each instance, TikTok

21     has not obtained adequate consent from or provided adequate notice to parents.

22          284.        This exploitation of children’s data violates the UCL. These acts and practices are

23     unfair under the UCL. They are also unlawful violations of the UCL, because TikTok fails to

24     satisfy its statutory and regulatory obligations regarding children’s data. See 15 U.S.C. § 6501, et

25     seq. (Children’s Online Privacy Protection Act, “COPPA”); 16 C.F.R. § 312.2, et seq. (the

26     “COPPA Rule”).

27

28            138
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 1           A.     TikTok collects the personal information of users it knows are children.

 2                  1.      TikTok had actual knowledge of accounts belonging to children.

 3           285.        Starting in 2017, Musical.ly required most new users to enter their age to create an
 4     account on the app, and this carried over to the TikTok platform following Musical.ly’s
 5     rebranding as TikTok in August 2018.
 6           286.
 7

 8

 9                                                       Additionally, users who created a TikTok account

10     by inputting their Facebook or Google credentials

11            .

12           287.        TikTok’s age verification system thus had a critical loophole:

13

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19           288.        This loophole resulted in approximately            accounts with a listed age

20     younger than 13. Despite its actual knowledge that each of these users was under 13 years old,

21     TikTok continued to collect and use personal information from the children’s accounts without

22     verifiable parental consent.

23           289.        This was not an isolated incident—throughout its lifespan, TikTok has known that

24     there were, and continue to be, large numbers of children joining and using the platform. For

25     example, internal TikTok documents

26

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 1           290.         An internal document
 2

 3

 4           291.         An internal TikTok Trust and Safety Memo
 5

 6           292.
 7

 8

 9

10           293.

11

12

13

14

15           294.         An internal     document

16

17

18

19                   2.     TikTok’s policies permit it to overlook children’s accounts.

20           295.         Before April 1, 2020, TikTok’s content moderation team followed a defective

21     internal policy when removing accounts that TikTok “suspected” belonged to a user under age 13.

22     Under that policy,

23

24                                                                                                     In other

25     words, for example, if a user declared that they were nine years old in their biography but had

26     only posted          videos in which they appeared to be under 13 years old, TikTok would allow

27     that account to remain on TikTok. And TikTok would continue to collect that child’s personal

28     information without ever attempting to acquire verifiable parental consent.
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 1           296.        A more recent account removal policy amended this process, but it was also
 2     fundamentally flawed.
 3

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10                  In such cases, TikTok continues to knowingly collect and use that child’s personal

11     information without ever attempting to acquire verifiable parental consent to do so.

12           297.        In addition to such inadequate policies, on information and belief, TikTok simply

13     failed to act on thousands of children’s accounts that (a) parents had requested be deleted, and/or

14     (b) TikTok’s own content moderators or quality assurance reviewers had tagged as belonging to

15     children.

16                  3.      TikTok knows that many children bypass its ineffective age gate, if
                            an age gate is used at all.
17

18           298.        Websites and online services sometimes attempt to screen certain users based on

19     the user’s age. Often, this screening is attempted through a screen prompting a user to enter their

20     date of birth. This process is often called an “age gate” or “age-gating.”

21           299.        On the occasions when TikTok has used an age gate, it has predominantly been

22     used during account creation or for accounts that were on the platform but had not supplied age

23     information when the account was initially created.

24           300.        TikTok’s age gate depends on children to self-report their age, and while the age

25     gate may sometimes effectively filter some users under age 13 into “Kids Mode,” TikTok knows

26     that under-13 users routinely supply a false date of birth when registering for TikTok. As alleged

27     in paragraphs 311-322, infra, even in instances where under-13 users do not circumvent the age

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 1     gate and are placed into “Kids Mode,” TikTok still collects their personal information without
 2     parental consent.
 3           301.     Not only does TikTok know that it is collecting personal information from
 4     children under age 13 without the requisite parental consent, but TikTok also knows that its age-
 5     gating processes incentivize children to lie about their age.
 6           302.
 7

 8             TikTok recognizes that

 9

10                                               so they can enter the more permissive 13+ experience.

11           303.     Internal documents show that

12

13

14

15

16           304.

17

18           305.     TikTok still had not implemented age-gating with respect to accounts created

19     through Google or Facebook by mid-2022.

20

21                                                                           Users who created TikTok

22     accounts before May 2022 by inputting their Facebook or Google credentials had simply been

23     granted full access to the TikTok platform without ever seeing an age gate on TikTok.

24           306.                   , TikTok described

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 1

 2

 3           307.      A document                   shows that TikTok
 4                                                                                                       That
 5     same document reveals that
 6

 7                                                                             TikTok was aware that

 8     significant numbers of these accounts without an associated birthdate likely belonged to users

 9     under the age of 13.

10           B.     The TikTok platform is directed to children.

11           308.      Independent of TikTok’s “actual knowledge” that it collects personal information

12     from children, TikTok is also subject to the requirements of the COPPA Rule because TikTok, or

13     a portion thereof, is “directed to children.” See 15 U.S.C. § 6502(a)(1); 16 C.F.R. § 312.2.

14           309.      One internal TikTok document

15

16

17

18           310.      TikTok is directed to children because, among other reasons:

19                a. TikTok’s “audience composition” includes millions of users under the age of 13. For

20                   example, in September 2020, TikTok had over                    users who self-identified

21                   as under age 13 on “Kids Mode” in the U.S., and, as alleged above, TikTok regularly

22                   acknowledges the fact that there are many children present on TikTok’s “13+

23                   experience”;

24                b. users under the age of 13 are an “intended audience” of TikTok,

25

26                                                                              ;

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 1                c. subject matter, characters, activities, music, and other content on TikTok are child-
 2                     oriented, such as accounts for My Little Pony, Pokémon, Cartoon Network, and
 3                     Bluey;
 4                d. models and celebrities on TikTok are children and/or appeal to children, including
 5                     some of TikTok’s most popular creators; and
 6                e. TikTok features advertisements directed to children, as those numerous
 7                     advertisements feature characters, franchises, and subject matter appealing to

 8                     children.

 9           C.       TikTok collects personal information from children that is subject to
                      regulation.
10

11           311.       TikTok collects personal information from children who use TikTok. Such

12     collection is regulated by COPPA and the COPPA Rule. See 16 C.F.R. § 312.2.

13           312.       Personal information collected by TikTok from each user with a self-reported age

14     of at least 13 on TikTok’s so-called “13+ experience” includes, but is not limited to: first and last

15     name; online contact information; screen or user name functioning in the same manner as online

16     contact information; telephone number; persistent identifiers (including IP address and

17     “cookies”); photo, video, and audio files containing a child’s image or voice; and unique device

18     identifiers.

19           313.       Even though TikTok has actual knowledge that “Kids Mode” users are children

20     who have self-reported that they are under 13 years of age, TikTok nevertheless collects their

21     information without obtaining—or even attempting to obtain—prior parental permission.

22

23

24                                                                           TikTok did not need to collect all

25     of the persistent identifiers that they collected from users in “Kids Mode” to operate the platform.

26           314.       In addition to collecting persistent identifiers, TikTok collects a host of other

27     information from children on “Kids Mode” and those on the “13+ experience,” including, but not

28     limited to,
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 1                                                                                                            and
 2     numerous other pieces of information about the app itself. TikTok uses information it collects
 3     from users on the “13+ experience” to target personalized advertisements to those users. 139
 4           315.     Some or all of the information that TikTok collects from children who use TikTok
 5     is “information concerning [a] child” regulated by the COPPA Rule. TikTok combines this
 6     information with at least one persistent identifier that it collects from that same child.
 7           316.     By combining this “information concerning [a] child” with a persistent identifier

 8     collected by TikTok, that information becomes “personal information” under the COPPA Rule,

 9     and the treatment of that information must comply with the COPPA Rule. 16 C.F.R. § 312.3.

10     TikTok does not request or obtain parental consent prior to collecting this information from

11     under-13 users.

12           D.     TikTok does not obtain verifiable parental consent before collecting or
                    maintaining personal information from TikTok users under the age of 13.
13

14           317.     Despite TikTok’s “actual knowledge” of under-13 users and the fact that TikTok is

15     “directed to children,” TikTok does not obtain verifiable parental consent before collecting, using,

16     or disclosing the personal information of its child users (regardless of whether those children are

17     using TikTok’s “Kids Mode” or its “13+ experience”).

18           318.     COPPA and the COPPA Rule enumerate the minimum methods by which TikTok

19     is required obtain verifiable consent. See 15 U.S.C. § 6501(9) and 16 C.F.R. § 312.5(b)(2).

20           319.     TikTok does not use any of these methods.

21           320.

22

23

24     TikTok has failed to do either.

25           321.     TikTok also has not provided direct notice to parents of its practices regarding the

26     collection, use, or disclosure of personal information from children.

27
              139
                Interest Targeting, Ad Targeting, TIKTOK [https://web.archive.org/web/
28     20230610113755/https://ads.tiktok.com/help/article/interest-targeting?lang=en]
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 1           322.     TikTok has not provided sufficient notice on the TikTok website or app about
 2     what information it collects from children, how it uses such information, its disclosure practices,
 3     and parents’ rights to review or delete their children’s information.
 4           323.     As a matter of standard practice, TikTok does not provide COPPA-compliant
 5     notice to parents and does not collect verifiable parental consent to collect, use or disclose the
 6     personal information of any child.
 7           324.     For all accounts on TikTok, including accounts created by children, there is no

 8     functionality or process for the company to obtain the verifiable parental consent, not even that

 9     which is required by the COPPA Rule for TikTok’s collection, use, or disclosure of children’s

10     personal information.

11           325.     Yet, internal TikTok documents reveal that

12

13

14           326.     TikTok has exploited children’s data without prior parental notice and consent,

15     and thereby has also fails to satisfy its statutory obligations under COPPA.

16                     FIRST CAUSE OF ACTION AGAINST ALL DEFENDANTS
17                        VIOLATIONS OF BUSINESS AND PROFESSIONS CODE
                                      SECTION 17500 ET SEQ.
18                                 (False or Misleading Statements)
19           327.     The People reallege and incorporate by reference each of the paragraphs above as

20     though fully set forth herein.

21           328.     From a date unknown to the People and continuing to the present, Defendants have

22     violated, and continue to violate, Business and Professions Code section 17500 et seq. by making

23     or disseminating, or causing to be made or disseminated, false or misleading statements with the

24     intent to induce members of the public to use TikTok’s platform when Defendants knew, or by

25     the exercise of reasonable care should have known, that the statements were untrue or likely to

26     mislead members of the public about TikTok’s platform. TikTok’s false or misleading statements

27     include, but are not limited to, the following:

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 1             a. TikTok misrepresented, directly or indirectly, expressly or by implication, that it
 2                provides “safety features” and tools that TikTok represents will perform various
 3                functions to protect young users, including its 60-minute limit, Refresh and
 4                Restricted Mode features, when in fact those features and tools do not perform as
 5                advertised and are easily bypassed or disabled;
 6             b. TikTok misrepresented, directly or indirectly, expressly or by implication, that its
 7                beauty filters and other Effects do not harm young users, while actively concealing

 8                the dangers beauty filters and Effects posed to young users;

 9             c. TikTok misrepresented, directly or indirectly, expressly or by implication that its

10                Community Guidelines and content moderation policies are applied and enforced

11                when they are not;

12             d. TikTok misrepresented, directly or indirectly, expressly or by implication, that its

13                platform is not psychologically or physically harmful for young users and is not

14                designed to induce young users’ compulsive and extended use, when it is in fact so

15                designed and harms young users;

16             e. TikTok misrepresented, directly or indirectly, expressly or by implication that it

17                prioritized young users’ health and safety over maximizing young user’s time on the

18                platform or TikTok’s profits, when in fact TikTok subordinated young users’ health

19                and safety to its goal of maximizing profits by prolonging young users’ time spent

20                on its platform;

21             f. TikTok misrepresented, directly or indirectly, expressly or by implication that

22                TikTok prevents under-13 users from using the standard TikTok platform when in

23                fact TikTok was aware that it does not prevent under-13 users from using the

24                standard TikTok platform;

25             g. TikTok has made other false and deceptive representations, including as set forth in

26                paragraphs 182 through 282.

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 1                   SECOND CAUSE OF ACTION AGAINST ALL DEFENDANTS
 2                       VIOLATIONS OF BUSINESS AND PROFESSIONS CODE
                                          SECTION 17200 ET SEQ.
 3                     (Unlawful, Unfair, and/or Fraudulent Business Acts and Practices)
 4           329.     The People reallege and incorporate by reference each of the paragraphs above as

 5     though fully set forth herein.

 6           330.     From a date unknown to the People and continuing to the present, Defendants have

 7     engaged, and continue to engage, in acts or practices that are unlawful, unfair, or fraudulent, and

 8     which constitute unfair competition within the meaning of Section 17200 of the Business and

 9     Professions Code. These acts or practices include, but are not limited to, the following:

10              a. Defendants have violated Business and Professions Code section 17500 et seq. as

11                  alleged in the First Cause of Action;

12              b. Defendants have engaged in a scheme to construct a deceptive public narrative

13                  regarding youth safety on the TikTok platform, including by making deceptive

14                  representations, directly or indirectly, expressly or by implication, regarding the

15                  TikTok platform, such those representations described in paragraph 328.

16              c. Defendants targeted the TikTok platform to young users while designing the TikTok

17                  platform to include features that Defendants knew to be uniquely psychologically

18                  and physically harmful to young users—including features known to promote

19                  compulsive, prolonged, and unhealthy use by young users;

20              d. Defendants purposely created, designed, utilized and deployed and continue to

21                  create, design, utilize and deploy features on the TikTok platform that unfairly harm

22                  young users independently of any actions taken by third-party users of TikTok’s

23                  platform. These features include Infinite Scroll, ephemeral content features,

24                  Autoplay, quantification and display of Likes, disruptive notifications and alerts,

25                  dopamine-inducing intermittent variable reward systems, and other filters and

26                  effects; and,

27              e. TikTok knowingly collected, maintained, used, or disclosed the personal information

28                  of under-13 aged users of TikTok without providing adequate notice to parents and
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 1                     guardians or obtaining adequate parental consent, and thereby failing to satisfy its

 2                     obligations under COPPA and the COPPA Rule.

 3                                            PRAYER FOR RELIEF

 4            WHEREFORE, Plaintiff prays for judgment as follows:

 5            1.        That the Court make such orders or judgments as may be necessary to prevent the

 6     use or employment by any Defendant of any practice that constitutes unfair competition or false

 7     advertising, under the authority of Business and Professions Code sections 17203 and 17535,

 8     respectively;

 9            2.        That the Court assess a civil penalty of $2,500 against each Defendant for each

10     violation of Business and Professions Code section 17200 in an amount according to proof, under

11     the authority of Business and Professions Code section 17206;

12            3.        That the Court assess a civil penalty of $2,500 against each Defendant for each

13     violation of Business and Professions Code section 17500 in an amount according to proof, under

14     the authority of Business and Professions Code section 17536;

15            4.        That the Court award disgorgement in an amount according to proof, under the

16     authority of Government Code section 12527.6;

17            5.        That the People recover their costs of suit;

18            6.        That the People receive all other relief to which they are legally entitled; and

19            7.        For such other and further relief that the Court deems just and proper.

20
       Dated: October 8, 2024                              Respectfully submitted,
21                                                         ROB BONTA
                                                           Attorney General of California
22

23

24                                                         BRENDAN RUDDY
                                                           MEGAN O’NEILL
25                                                         MARISSA ROY
                                                           NAYHA ARORA
26                                                         JOSHUA OLSZEWSKI-JUBELIRER
                                                           Deputy Attorneys General
27                                                         Attorneys for People of the State of California
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ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                             FOR COURT USE ONLY
Brendan Ruddy, Deputy Attorney General (SBN 297896)
455 Golden State Ave., Suite 11000, San Francisco, CA 94102-7004                                           Electronically Filed
TELEPHONE NO.: (415) 510-4400                   FAX NO. : (415) 703-5480
                                                                                                           by Superior Court of CA,
EMAIL ADDRESS: Brendan.Ruddy@doj.ca.gov                                                                    County of Santa Clara,
ATTORNEY FOR (Name): The People of the State of California                                                 on 10/8/2024 12:30 AM
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SANTA CLARA                                                        Reviewed By: P. Hernandez
 STREET ADDRESS: 191 N. First Street
                                                                                                           Case #24CV449203
                                                                                                           Envelope: 16875754
 MAILING ADDRESS:
CITY AND ZIP CODE: San Jose, CA 95113
     BRANCH NAME: Downtown Branch

CASE NAME:
 The People of the State of California v. TikTok Inc., et al.
       CIVIL CASE COVER SHEET                                   Complex Case Designation                    CASE NUMBER:

        Unlimited            Limited                   Counter               Joinder                                      24CV449203
        (Amount              (Amount
                                               Filed with first appearance by defendant JUDGE:
        demanded             demanded is
                                                   (Cal. Rules of Court, rule 3.402)
        exceeds $35,000)     $35,000 or less)                                            DEPT.:

                               Items 1–6 below must be completed (see instructions on page 2).
 1. Check one box below for the case type that best describes this case:
     Auto Tort                                             Contract                                      Provisionally Complex Civil Litigation
           Auto (22)                                             Breach of contract/warranty (06)        (Cal. Rules of Court, rules 3.400–3.403)
           Uninsured motorist (46)                               Rule 3.740 collections (09)                    Antitrust/Trade regulation (03)
     Other PI/PD/WD (Personal Injury/Property                    Other collections (09)                         Construction defect (10)
     Damage/Wrongful Death) Tort                                                                                Mass tort (40)
                                                                 Insurance coverage (18)
             Asbestos (04)                                       Other contract (37)                            Securities litigation (28)
             Product liability (24)                                                                            Environmental/Toxic tort (30)
                                                           Real Property
             Medical malpractice (45)                                                                          Insurance coverage claims arising from the
                                                                 Eminent domain/Inverse
            Other PI/PD/WD (23)                                                                                above listed provisionally complex case
                                                                 condemnation (14)
                                                                                                               types (41)
     Non-PI/PD/WD (Other) Tort                                   Wrongful eviction (33)                  Enforcement of Judgment
             Business tort/unfair business practice (07)        Other real property (26)                       Enforcement of judgment (20)
             Civil rights (08)                             Unlawful Detainer
                                                                                                         Miscellaneous Civil Complaint
             Defamation (13)                                     Commercial (31)
                                                                                                                RICO (27)
            Fraud (16)                                           Residential (32)
                                                                                                                Other complaint (not specified above) (42)
             Intellectual property (19)                          Drugs (38)
                                                                                                         Miscellaneous Civil Petition
             Professional negligence (25)                  Judicial Review
                                                                                                                Partnership and corporate governance (21)
          Other non-PI/PD/WD tort (35)                            Asset forfeiture (05)
     Employment                                                  Petition re: arbitration award (11)            Other petition (not specified above) (43)

             Wrongful termination (36)                           Writ of mandate (02)
             Other employment (15)                               Other judicial review (39)
2.  This case         is            is not     complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
                                                                     d.        Large number of witnesses
   a.        Large number of separately represented parties
   b.        Extensive motion practice raising difficult or novel   e.         Coordination with related actions pending in one or more
             issues that will be time-consuming to resolve                     courts in other counties, states, or countries, or in a federal
                                                                               court
   c.        Substantial amount of documentary evidence                        Substantial postjudgment judicial supervision
                                                                     f.
3. Remedies sought (check all that apply): a.            monetary b.         nonmonetary; declaratory or injunctive relief c.          punitive
4.  Number   of causes   of action (specify): two
5. This case          is            is not     a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: October 8, 2024
Brendan Ruddy
                            (TYPE OR PRINT NAME)                                                       (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                           NOTICE
 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
     under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all other parties to
   the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.              Page 1 of 2
Form Adopted for Mandatory Use                                                                                    Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
Judicial Council of California                              CIVIL CASE COVER SHEET                                        Cal. Standards of Judicial Administration, std. 3.10
CM-010 [Rev. January 1, 2024]                                                                                                                             www.courts.ca.gov
